, Gase 1:20-cv-10656- RGS Document: 1-1. Filed: 04/02/20. Page. 1 eft 64- ag Bh ee,

      

   
 
   
 
 

: Ain alder chante, Lf teats

   

| /DEFENDANTIS) Pe

-SUMIONS

 

 
   
    

pseoel to: this: summons sane the original complaint I has Hebi ta
ie you must. ‘ACT “PROMPTLY: TO PROTECT. your RIGHTS.

 

 

 

 

    

a ct “pel mag or ska ‘ait vof your sponse to the: Plaintif’s astorne/Planit atthe following? -

ae ze ital : She Pcl in,

 

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 2 of 64

Legal Assistance. You may wish to get legal help fram a lawyer. IFyou cannot get legal help, ‘same basic
infarmation for people who'represent themselves is available at www.mass.gov/co urts/selfhelp.

Required information on all filings: The “civil docket number” appearing at the top of this notice Is the
case number assignied.to this case and must appear on the front of your Answer or Motion to Dismiss.”

You should refer ta yourselfas the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on Febtunry O28 2026 .
ept¥Donovan .
_Clerk-Magistrate

  
 

Note: The number assigned ta the Complaint by the Clerk-Magistrate atthe beginning’ of the lawsuit should be indicated on the

summons before itis served on the Defendant,

PROOF OF SERVICE OF PROCESS

Thereby certify that on. __, 20___, | served a copy of this summons,
together with a copy of the complaint in this action, on the defendant named in this: summons, inthe |
following manner (See Mass. R. Civ. P. 4 (d)(4-5)}:

 

 

 

 

Dated: p20 0 __ Signature:

“NM.B. TO PROCESS SERVER:
PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX—BOTH
ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON-THE DEFENDANT. oo

 

 

 

 

Hie
Case 1:20-cv- 10656- RGS Document 1-1 Filed 04/02/20 Page 3 3 of 64

 

 

 

 

CIVIL ACTION COVER SHEET

 

 

 

 

PAMTERey Avior

 

 

 

 

‘ADORESS: a Naheéin Court Hyde Party MAO238

 

 

 

 

 

 

 

ATTORNEY: aie Hatby: Jon Haeby, Halaby Law. Group. P: &. .

 

 

 

 

ADDRESS” {4 Main St; Hingham as zai: : ADORESS:

 

 

 

 

 

 

 

 

 

 

 

 

a ee oe
re "OY “ACTION. AND TRACK GESIGNATION Gace reverse anda) ,
CADE NO, YPE OF ACTION (specify) HAS|A.JURY-GLAIM BEEN MADE?

Add | oe _ ‘ves [J No

 

 

 

   

 

AE. “Other”. please. describe:

  

 

 

‘|g.there.a claim under <A? 0CUCOC”C”*~<“<=C<C2X;zR*~<‘~st~S™ “Tatham class acti vuidr Mass. Rew. Plas?:

{o] Yas NO |, NO:

   

STATEMENT OF DAMAGES ‘PURSUANT 10 GLb. B42 §5A.

 

[The following'is a full, temizad and detailed 'statemerit of its on which:the undersigned: plaintit or plaintitrs counsel relies to-determine money ddmages:
Forthis forrs,: sragard déuble-er ‘reble: ‘damage ‘claims: indicate single. damages: ‘anly.

TORT CLAIMS 7
‘(attach additional: Asn

  
 
   
 
 
 
 
  
  
  

i A. Documented medical. @xperises te to:.date::
, 4, Total hospital expenses

 

 

 

 

 

 

 

 

 

 

 

 

4. Total pitysieal th é
§- -Fotal other expenses: (describe Below)

‘ a: ‘Hacuinented: ost Wages: cand gérnpensa

1O;Doctimanted property damai 0.0 or :
1D, Readonably anticipated: future medicafand hospital expenses
E, Reasonably ahticipated iost wages...
F. ‘Other docurnented.itams of damages: (desciiba below).

| See. Attachinent A‘

1G, Briefly deseriba. plaintiffs injorys including: the: natare: andaxtentof: ‘injury:

; S96 Atlachment A Cate a a A
TOTAL (A-FYS: ho £

  

 

 
 
  
    
   
 

cassary).
ving ¢ ered: ‘agreame#nit. Mass Ri Civ. PLS. 48):

TOTAL: § SAME. SaMme-as |
BbvOVE

Date: _2/y/20:

sending in the Supgfict pour.

: Provide a detaliad: ‘deseription off: -claimtsy ¢
“See Aifachment:A
Signanre: OF FAttomey Unrepresented

 

 

 

stagnate of 1 nitonsy a tasers %

 

 

 

 

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 4 of 64

 
  
 

W COVER SHEET INSTRUCTIONS
Y THAT BEST DESCRIBES YOUR CASE

3SBS33

    
   

Eb co ee
Elaphe oo & 40, 0.628

BB

- Secrets:
801 Financial tesa
BHI “\resation: of Ancient oF Tracie

eto oP Gomnitiant:@.L.& $284,942.
E74 SOP Patition; Gi.¢ 123A; $8)

Ete Sec oriendet Rca 666, 5176M. {A}
£27 inot Seeking Consent, G.L.0.112, g 1280)

coDERO. TYPE OF ACTION (epéat) TRACK. we ngeveiggeen

fi ctasomentot damagesied se plains is inadequate; ‘the.datefidant ray
ss which may result the intitt prevails.

 
 
 

| FILED WITH EACH COMPLAINT.
) JGHLY AND ACCURATELY

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 5 of 64

Alvin Holder v, Boston Police Department, et.al,
CIVIL ACTION COVER SHEET - ATTACHMENT “A”

Tort Claims:

     

Section. F: Other documented items of damage:

Damage to. ‘personal and: professional reputation, i goodwill; Harm-to’ his. ability ta perform his
job asa police officer and his ability:to participate in basic: life activities; Lost. educational.and
career. opportunities and opportunities for-advancement; Emotional Distress: and harm to
psychological and physical health; Attorneys fees; Costs; and, Interest.

     

Secti nG: Brief descr) tion of Plaintiff's inj uit ,includin, priature and-extent of injur z

 

Plaintiff i is the victinvof a false accusation of untruthfulness: by fellow: BPD employees ¢ and. .
ongoing fraudulent: activity by his employer (the: BPD) and other: Defend. ts to.cover-it up. For
averten years Plaintiff has had the untruthfulness determinatia d; whith BPD: has
not removed despite-recent surfacing of 4 BPD Internal Affairs report showing itis false, and
showing that.a BPD attorney defrauded the arbitrator into. ruling: against: Plaintiff in 2013 by

withholding 1 the report from.evidence: and. misrepresenting. its contents..

 

Plaintiff has. suffered irreparable farnto his reputation because the: untruthfulness finding has
cased. others ta. perceive bis a as untrustworthy, whicttis particularly: problematic: given that he
a key part of of his. job. F Plaintiff has.a: permanent mark on

 
 

Plaintiff was-uriableta'finish completing his: pachelor’s degree.and has. been.deprived of
multiple promotions withivi the BPD and: more: thar $600,000:00 in compensation, as.a: result of
the false-accusations and fraudulent conduct by Defendants. It! is‘anti¢ipated. ‘that,. going
forward, Plaintiff will covtinue'to expérience dost’ opportunities for: promotion: and will suffer
lost’ earnings: af more than at-estimated $1,000,000. a0: between now: and: his anticipated
retirement. Plaintiff Is: entitled. to multiple damages forthe lost: wages incurred:

Plaintiff also had-his personal firearm takén.away- for four years as a retaliatory: measure. andis.
entitled to compensat ion for conversion of property. Plaintiff-has. incurred significant, attorneys
fees investigating these unlawful. acts, request documents: and information. from the BPD
and the City of Boston.te which hes: legally & di, seeking removal of the: iintruthfuiness
determination, and affordin, 1D the:chance to rectify. this situation. But: the BPD and the
City of Boston have outright: ignored his: requests, refusing to investigate: and refusing totake

 
  
 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 6 of 64

any-action, and violating: an administrative ‘Order to produce f records, and violating state and:
federal law, ‘Plaintiff is entitled ‘to. recovery. of ALL of his attornéys fees, including fees'forall
pre-suit. efforts to.obtain: relief from Defendants: and all fees: ‘associated with-this lawsuit.

Plaintiff's constitutional: rights have also: been violated,.and he has: been, treated less. favorably
than white employees of BPD in. the terms.and conditions: ‘of his: émployment:

Plaintiff'is also entitled to six figure damages for his emotional distress, given the harm to his
psychological and physical health:

Alldamage figures are preliminary. and. Plaintiff’ reserves his. right to: provide further information
in-the future,. including an analysis. of damages from, one or more'experts:..

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 7 of 64

COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss. SUPERIOR COURT DEPARTMENT
CIVIL ACTION.NO. Jo8Y CV 00386

    

 

 

 

 

 

ALVIN HOLDER,

Plaintiff,
Vi.
ROSTON POLICE, DEPARTMENT,
CITY OFBOSTON, .
WILLIAM GROSS, in his Official Capacity

as the COMMISSIONER OF THE BOSTON
POLICE DEPARTMENT,

)

)

)

)

)

)
WILLIAM EVANS and EDWARD DAVIS, )
each in his Official Capacity as former )
COMMISSIONER OF THE BOSTON. )
POLICE DEPARTMENT, )
NICOLE TAUB, individually and in her )
Official Capacity:as Former Sénior Staff Attomey )
for the BOSTON POLICE DEPARTMENT, }
KENNETH FONG, individually and | )
in his Official Capacity as )
)

)

BOSTON POLICE DEPARTMENT CAPTAIN,
and SHAWN WILLIAMS, in his Official Capac
ag DIRECTOR OF PUBLIC RECORDS.AND )
RECORDS ACCESS OFFICER for the )
CITY OF BOSTON AND THE BOSTON )
| )

)

)

  

1 Capacity .

POLICE DEPARTMENT,

Defendants.

 

 

 

Plaintiff Alvin Holder, by and through his attorneys, Halaby Law Group, P.C., and
complaining of the Defendants, alleges.as follows:

NATURE OF THE ACTION

 

This action. arises from false accusations made by Boston Police Department ("BPD")

personnel against Plaintiff, Boston Police Detective Alvin Holder, and ongoing actions by the

BPD.1o cover up the dishonest acts of its personnel. The false accusations pertain to‘an October’
i
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 8 of 64

19, 2005: off-duty incident where Plaintiff witnessed an accidental shooting involving two fellow
off-duty officers. ‘The BPD first aceused Plaintiff of being untruthful when reporting the incident
on thenight it occurred. But when evidence surfaced refuting the accusation, the BPD
constructed a new-accusation, claiming that Plaintiff was untruthful when he was interviewed
about the incident three months later by the Internal Affairs Division (IAD").

  
 

    

 

 

An Arbitrator upheld the new accusation in 2013,-but the IAD investigator's report

surfaced in late 2017 showing that the Arbitrator’s decision was incorrect, and that Defendants
rad. committed fraud by misrepresenting the investigator's findings to the Arbitrator and.

withholding the report from evidence. Plaintiff sought relief through the BPD but it has refused

to investigate or take action. Plaintiff now seeks relief through this Court to. have'the arbitration
decision set aside: and untruthfulness determination removed: from his file.

_ This action concerns Defendants’ violations of the following statutes: 42 USE: §.§ 1983
and 1985 for depriving Plaintiff of hig constitutional fights while acting under color of state law,

and conspiring as.a group to.do same; 42°U.S.C_§ 1981 for discriminating against Plaintiff. on
ihe basis. of race under color of state law; Massachusetts collective bargaining law, GL..c, 1508,.

§ 10-for unfair labor practices including. reta Jiation for exercising protected union'member rights,
Massachusetts Whisileblower Law, G.L. c. 149, § 185 for retaliating against Plaintiff after he

ansetts Personnel Record Law, GL. ¢. 149,-§52C

   

complained about unlawful conduct; Mass

    

for withholding the LAD teport from Plaintiff as. personnel record, arid failing to remove the.
untruthfulness detertiination; Massachusetts Public Records law, G.L. €. 66, § 10A for
withholding thé IAD report from Plaintiff ag:a public record in violatiow of the January 9, 2019
Order from the Massachusetts Supervisor 6f Records.

This action also concerns common law.claims against jndividual: Defendants for
defamation and tortious inference with employment and advantageous business relationship.
Defendaiits Fong and Taub’s actions have harmed Plaintiff's reputation, opportunities for career
advancement, and his credibility asa government witness: (a key aspect of his.job.) This is
causing irreparable harm to Plaintiff and orime victiins in the federal criminal justice system.
Plaintiff also has a claim for.conversion of property.(he was deprived of his personal firearm for

four years-without justification) and fraud (fo! knowingly misrepresenting the IAD investigators

findings to the Arbitrator, causing the Arbitrator torule against Plaintiff.)

 

 

This action: seeks monetary damages for economic’and non-econotnic losses, declaratory
relief (declaring the IAD report to be-a public record or personnel record that must-be produced
to Plaintiff); equitable relief Gneluding removal of the untruthfulness determination from

See ot

Plaintiff's record by-way-of an injunction, expiingement pursuant to G:L. c. 149, § 52C, and/or
vacating the May 24, 2013 arbitration awatd pursuant to. GL, €: 150C.§. 11), and other relief
requested herein.
PARTIES
1. Plaintiff Alvin. Hol der ig an individual with a residential: address of 4 Mansen Court, Hyde
Park; Massachusetts, 02136.

2. Defendant Boston Police Department (“BPD”) is Plaintiff's employer and isan agency of
2
10.

iL.

12:

13.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 9 of 64

the Defendant City of Boston with its headquarters located at 1 Schroeder Plaza, Boston,
Massachusetts:02120.

Plaintiff has been employed with the BPD sifice 1998 and currently ‘holds the position of
Detective. .

Defendant William :G. Gross:is currently ‘serving as the Commissioner of thé BPD.

Defendants William Evans and Edward Davis previously served as the Commissioner of
the BPD at times relevant herein.

At times relevant herein, Defendant Nicole 1. Taub.was employed in the City of Boston

Law. Department as a Senior Staff Attorney for the BPD Office of the Legal. Advisor.

At times relevant herein, Di fendant Taub regularly represented the BPD in-personnel.
matters including labordisputes and arbitrations.

_ Defendant Kenneth B: Fong is curretitly employed with the BPD: serving:in'the role of

Captain; and previously held other roles including Superintendent of the Internal Affairs
Division at times- relevant herein.

. Deferidarit Shawn Williams's currently employed as Director of Public Records and

Records-Access Officer-for thé City of Boston and its agencies including the BPD.

Defendants Gross, Evans, Davis; Taub, Fong and Williams areal! being sued in their

official capacities and at times. relevant herein, their usual place of employments and/or
has‘been in Boston:

Defendants Taub and Fong are also being sued individually with respect to. the claims-of
tortious interference’ with employment and advantageous business relationship, and
defamation. | |

ca ae OT

JURISDICTION AND VENUE.

This Court has jurisdiction over the Defendants and the subject matter'‘of this action
because; amiong. other reasons, the Defendants are Massachusetts citizens, a municipality
within Massachusetts, and an agency ‘of said.municipality, atid at times relevant herein,
Defendants carried. out law'enforcement activities in and.from Massachusetts, and
committed to Vlassachusetts and violations of Massachusetts statutes including
GL, ¢.66'§ 10A (0), G.L. 150 i i

hear the federal claims pursuant to the Supremacy Clause of Article VI of the U.S.
Constitution..

 

and GL. ¢. 149, 852C:. This Court has jurisdiction to

  

‘Venue is proper in this county because Defendants’ unlawful conduct ori ginated in, was

coordinated in, and was Carried out from Suffolk: County:
14,

18...

16.

17.

18.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 10 of 64

 

Plaintiff is a highly decorated and respected police officer who has been employed with

8 andis currently serving:in the role of Detective.

thie BPD since 199

Plaintiff has a record of consistently positive job performance reviews, and ‘with the

exception of the situation that is the subject of this lawsuit, his record is free from.any
written reprimands.

At times relevant herein, Plaintiff was ataember of the Boston Police Patrolmen’s.
Association, a union representing police-officers of the City of Boston. ‘He is currently a
member of the Boston, Police Detectives Benevolent Society ‘Union.

In the course of his employment with BPD, Plaintiff has testified as a witness for the
prosecution it criminal trials, including multiple homicide cases that resulted.in
indictments and convictions.

Being able to serve.as a credible government witness.in criminal proceedings is an,
{important part of Plaintiff's job.

2005 OFF-DUTY INCIDENT

19,

20.

21,

22.

23.

24.

25.

26.

‘On October 19,2005 while off duty, Plaintiff was.in the company of two fellow Boston

policé officers (Prank Lee'and Bric Mencey) who were.also off duty, alongwith an off-

duty Boston firefighter (Rayshawn Johnson), when Lee-accidentally discharged a
firearm, injuring Mencey. .

Plaintiff drove Mencey and Lee to the Faulkner’ Hospital so'that Mencey could receive
medical treatment.

Plaintiff notified Boston Police Lieutenant Patrick Cullity of the incident.

Wher notifying Cullity, Plaintiff provided hin with the incident location which’ was
Raldne Road in Hyde Park.

BPD ‘personnel responded to the Raldne Road location, including Sergeant John
Cunniffe, the-District 18 suipervisor:

‘BPD personnel also responded to the Faulkner Hospital.

Superintendent Bobby Johnsoi: interviewed Plaintiff at Faulkner Hospital: regarding the
accident. .

Stiperintendent Johnson asked Plaintiff who was shot arid Plaintiff responded that it-was
Officer Mencey:
28.

29.

30.
$1.

32.

33.

34,

33.

36.

37.

38.
39.

40,

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 11 of 64

Superintendent Johnson ‘asked Plaintiff who had the gun and Plaintiff responded that it
was Officer Lee,.

Superintendent Johivson asked Plaintiff who was driving the vehicle and Plaintiff
fesponded that Plaintiff was. .

When Superintendent Johnson asked P! aintiff to provide further details, Plaintiff
explained it was aft accidental discharge of the gun from the back to the front, ofthe

vehicle and that he would gladly answer more questions after speaking with hisunion

representative, who had instructed him to refrain from afiswering further questions at
that point.

\

Although Plaintiff answered Su érititendent Johrison's questions about who-was in

possession of the gun, he did not directly-tell Superintendent Johnson: that Lee:

discharged the firearm and shot Mencey.

‘Plaintiff did not tell Superintendent Johnson that Lee shot Mencey.becausé he had been
instructed by his union representative Officer Jay Brodérick.to'reftain front, providing
such details at that point.

‘Union attorney Thomtias, Drechl ser advised Plaintiff of his Miranda rights at-Faulkier:

Hospital.
Plaintiff invoked his Miranda. rights per the instruction from:the upion attorney.

At the time, Officer Lée and Plaintiff ‘were members.of the same union (the Boston
Police Patrolmen’s Association).

in instructing Plaintiff to limit bis communication with BPD ‘investigating Officers _
regarding the incide! the union representative was acting. to protect the nghts of union

‘members including Officer Lee.

 

   

As a way for Plaintiff te provide investigating officers with sufficient information about.
the shootet’ s:identity witho ardizing the rights of his fellow:union member,
Ligutenant-Cullity instructed Plainti ‘not to'give the specific name of the shooter but
asked Plaintiff if it was “one'of us” (.e., a police officer.) |

 

 

  

Plaintiff responded to Lt. Cullity’s question by saying “yes.”

Lee was not questioned of interviewed about the October 19, 2005 incident by

Superintendent Johnson or any other BPD personnel while at Faulkner Hospital,

‘Lee spoke with union representative Officer Broderick and union. Attorney-Drechlser
while at Faulkner Hospital, and invoked his, Miranda ri ghits.

‘Mencey received medical treatment in the Faulkner Hospital emergency department: for

5
Al.
42,

45.

46,

AT,

48,

49,

50.

Sf,
52.

53,

54.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 12 of 64

his gunshot wound.

Mencey was not questioned-or interviewed about the October 19,2005 incident by:

Superi ntetident Johnson.or any. other BPD'personnel while. at Faulkner Hospital.

Neither Supt, Johson nor any other BPD personnel attempted io.contact-eyewitness
Rayshawn Johnson while at Faulkner Hospital or any time immediately, thereafter.

In responding to questions from Supt Johnson at Faulkner. Hospital, Plaintiff provided.

the names of all individuals involved in the October 19, 2005 incident and listed the
three BPD officers who were:in the vehicle as himself, Lée and Mencey.

Although Plaintiff did not specifically siate that Lee shot Mencey, Supt. Johnson knew
on October 19, 2005 (the day it happened) that it was Lee who shot. Mencey..

Supt. Johrison knew on October 19, 2005 that the shooter was Lee by process of

elimination as he knew it, was one of the other police officers in the vehicle besides
Plaintiff and he knew Mencey had not shot himself, so the shooter had’ to have been Lee.

At no time did BPD: personnel believe that the shooter was someone other than one of
the police officers in the vehicle.

At notime.did BPD personnel:conduct a'search for the shooter.

Mencey was released from the hospital and recovered from his injuries and continues to
be employed with BPD.. .

INTERNAL AFFAIRS

The TAD was assigned toconduct an investigation of the October 19, 2005 incident.

in which Plaintiff was accused of being untruthful when reporting ihe incident on'the,

The IAD investigation was triggered by Complaint Control form.1920,, Complaint #5953.

 

As part of the inivestigation, Sergeant William J. Chinetti of the IAD interviewed
‘Plaintiff on January 18,2006.

In conducting his investigation, Sgt. Chinetti did not interview key witnesses including
Superintendent Johnson or Lieutenant Cullity.

‘One purpose of the investigation was to evaluate Plaintiff s conduct on the night of the
incident 10. assess the merits of the complaint and determine if disciplinary action against
him’ was warranted based:on-same:

Jn a notice dated May 19, 2006, Plaintiff was advised that the [AD had sustained the
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 13 of 64

allegations inthe complaint that Plaintiff.was untruthful on the night of the incident.

55, Plaintiff was not told the LAD’s findings with respect to why it sustained the allegations
ot how he allegedly lied-on the night in. question, despite Plaintiff’ s multiple requests for
this information.

56. The withholding of the AD’s findings'in this situation was-contrary to. BPD rules,
practices and-procedures.

§7. On or about January 7, 2007, Plaintiff was presented witha: settlement agreement from
the BPD (dated September 7, 2006) which provided. for a reduced suspension.

58, The-proposed settlement agreement accused Plaintiff of being untruthful during an

interview with Sgf. Det. Ta bot when he allegedly told Talbot that he gave Supt: Johnson

the facts of the firearm discharge (i 6, the name-of the shooter.)

59. The accusation in ihe.settlement agreement was different from the accusation contained
in: Coniplaint Control. Form 1920, Complaint #5953.

60, Plaintiff did not sign the settlement agreement.
WITHHOLDING OF FIREARM

61, The BPD withheld ‘Plaintiff's personal firearm for-an. extended and unreasonable period

of time (four years) following the October 19, 2005 incident.

62, Beginning in early 2006, Plaintiff and his attorney Ket Anderson submitted written

complaints to the BPD. about the improper withholding of his firearm and requested that
it be returned.

63. The BPD failed.to provide justification for withholding the firearm and continued to
withhold if until November 2009.

64, The withholding of the firearm by the BPD was unlawful and contrary to BPD rules,
practices and procedures. | |

2009 SUSPENSION

65, In 2008, more than:2 years after the [AD investigation, Captain Kenneth Fong, who held

the position of Superintendent at the time, brought a formal complaint against Plaintiff.

66, Fong's complaint included ant allegation that Plaintiff was untruthful when he provided
uring the IAD interview on

false information regarding the discharge of his firearm.d
January 18, 2006. .

  

67. Fong did not-allege that Plaintiff had been untruthful.on the nig ht of the incident as had
7
68.

69,

70:

Th.

72.

73,

74,

75.

76.

FT.

718.

T..

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 14 of 64

been originally alleged in Complaint Control Form 1920; Complaint #5953.

The reason Fong did not allege that Plaintiff had been intruthfil on the night of the

incident is because evidence had surfaced that: refuted this adcusation, so Fong had
constructed 4 new accusation.

Superintendent Fong's comp pted by an improper motive, including a
motive to retaliate-against Plaintiff for having complained about ihe BPD’s withholding,

 

of his firearm and jis: violation of his rights with regard to-same.

A ‘departmental disciplinary hearing was held in front of Deputy Supt Kelley.
McCormick on March 9, 2009 for the purpose of addressing Superintendent Fong's:
complaint:

Attomey. Taub represented the BPD at the March 9, 2009 disciplinary ‘hearing.
Taub-argued that Plaintiff must not have informed Supt. Johnson that Lee was the
shooter because if Plaintiff had told him, Johnson would have.interviewed. Lee.

Taub’s statement is untrue because Lee was.an eye witness to the shooting and should

have been interviewed by Supt. Johnson per BPD: rulés, practices:and procedures.

Taub also argued that Plaintiff miust-not have informed Supt, Johnson that Lee was the
shooter because if he had, Johnson would have noted it ih his report.

Taub’s statement ig untrue because Supt: Johnson admitted during the disciplinary

heating that he: may have received that information from Plaintiff that Lee-was the:
shooter even though it was not in his report.

Onn: June 25; 2009 Plaintiff was seat a Notice of Suspension by the BPD saying that he
was being suspended for 45 days without pay based on Supérintendent Fong's complaint
includirig. his allegation that Plaintiff vislated Rule 102, § 23 (truthfulness) by providing

false information during the IAD interview with Sat. Chinetti:on January 18,2006.

   

The Notice of Suspension did not provide factual detail nor did it explain. how the.
information Plaintiff gave to Chintetti was false.

“The Notice of Suspension did not accuse Plaintiff of lying on the night: f the incident as:
had been originally alleged:in Complaint Control Form 1920, Complaint #5953,

AS. described: herein, ‘ene purpose of the 2006 IAD interview of Plaintiff was to evaluate
ee Bae 9, 2005, and

possible disciplinary action against Plaintiff for his actions on October 1

   

now Fong’s 2008 complaint focused on Plaintiff's actions during the IAD interview:

80,

It was a violation of Plaintiff's rights for Fong and the BPD 10 have initiated disciplinary

8
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 15 of 64

especially

action against hin based on his statements. during the disciplinary interview,
a ni bas the dis an

since this ‘was being done.only because evidence had surfaced refuting the ir
introthfulness accusation.

 

 

81. Plaindff served the suspension without pay, causing him to lose 45 days/ nine weeks of
pay totaling approximately $25,000,00-and had the determination.of untruthfulness.
placed in his personnel record:

IDENTITY OF SHOOTER WAS ALREADY KNOWN TO BPD

82. On the night of October 19, 2005, BPD investigating officers were aware that the shooter
was Officer. Lee while.at Faulkner Hospital; they did not conduct-a-search for a suspect,
nor did they interview Lee’ after the union representative atrived even though -Lee
remained present at Faulkner Hospital through the time investigating officers were
there.

83, Had the BPD not. known that Officer Lee was the shooter, it would have followed a
different protacol.on October 19, 2005 inaneffort to conduct a search for the shooter.

84, Plaintiff's conduct did not impair the efficient-and.orderly operation of the Department.

85, Fong had no legitimate ot good faith reason to pursue a complaint against Plaintiff;
Plaintiff had provided enough. information for the BPD to ascertain the name of thé

_ shooter while at Faulkner Hospital and-was fully cooperating with theirinvestigation.

  

86; Fong’s'complaint against Plaintiff was baseless. and his- motives were improper:
2012 - 2013.ARBITRATION

87; Plaintiff appealed the suspension decision and it was assigned to Arbitrator Michael C.
~ Ryan, Esq. . -

88. ‘On November 19, 2012 (the day before arbitration proceedings. began), the basis for the
BPD’suntruthfulness accusation remained unclear.

89. The union attorney inquired with Attorney Taub about the basis for the untruthfulness.
accusation that was the subjéct of the arbitration, to which Taub responded by saying
that Plaintiff was untruthful in the statements he made to supervisors on the night of the

2005 incident; she-did not reference any accusation that Plaintiff was.

  

 

October 19.
untruthful during the LAD interview.

   

 

90. Afier the arbitration hearings in 2012 and-2013 , Arbitrator Ryati upheld the suspension.

91, Arbitrator Ryan issued a Decision and Award dated May 24,2013 in which he decided:
that there had been just cause for Plaintiff's 2009 suspension for violating Rule 102, §'23
9
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 16 of 64

 

(truthfulness) because Plaintiff lied during the Tanuaty 18, 2006 LAD interview when he

fold Sergeant Chinietti that he had provided Superintendent Johnson and

Lieutenant Cullity with the identity of the shooter in the October 19, 2005 incident.

99. Sgt. Chinetti never interviewed Supetintendent Johnson in connection with the [AD
investigation. .

03. Supt. Johnson did not testify at the arbitration.
94, Sat. Chinetti never. interviewed Lieutenant Cullity in connection with his I AD
jnvestigation.

95, An audio éecording of Lieutenant Cullity’s conversation with Sgt. Michael Fish from

Operations shows Lieutenant Cullity provided false testimony at the arbitration.

  

96. This audio récording was-un kitown to Plaintiff at the time of the arbitration and was
intentionally withheld from evidence by Attomey Taub..

97. Attorney Taub was required to provide Plaintiff and/or his union attorney with.a copy of
the audio recording as per the BED rules, practices and procedures, and other applicable
rules and: laws.

98. Asa result of Arbitrator Ryan’s decision and rulitig against him, Plaintiff's unpaid
suspension was affirmed and he had the permanent “untruthfulness” determination
placed in his personnel record,

2013 COMPLAINT TO. COMMISIONER DAVIS AND SUBSEQUENT RETALIATION

99. In a complaint letter dated October’7, 2013 sent.to Commissioner Edward Davis, and
subsequently to several. command staff members, Plaintiff identified the

misrepresentations made by Attomey Tanb.during the arbitration proceedifig’and the

mishandling of the IAD in’ /éstigation into:the October 19,.2005 incident, and Plaintiff
asked the BPD to.reject the arbitration decision, remove the untruthfulness

determination from his file, and compensate him for the three months of wages that he
lost because of the unjustified suspension.

100. Plaintiff's submission of this October 7, 2013 leiter resulted in the BPD taking
tetaliatory action against Plainiiff including but not limited to, emoving him from his
active duty statua, issuitig an immediate unlawful suspension of his License to Carry,
deeniing him to be an unsuitable person to carry a firearm, and unlawfully seizing his
personal weapons from his residence.

101. Plaintiff’ was retumed to active duty statuis and his License to Carry was retumed to him
four days later during a meeting with then Chief Daniel Linskey: who acknowledged that
‘he and Commissioner Bd Davis had ordered the above described action because of the
letter.
40.

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 17 of 64

102, Duiring the meeting, Plaintiff's atiomey Alan Shapiro communicated 10 Chief Linskey

" that he was aware of a pattern of dishonest conduct by Attorney Taub and that she had.

been untruthful in.other BPD matters in addition to this:one.

103, After hearing this, Chief Linskey then offered to reduce Plaintiff’s original suspension
in exchange for a plea to.a lesser offense; but his offer was rejected by the Plaintiff.

2014 COMPLAINT TO THE IAD AND SUBSEQUENT RETALIATION

104, Fearing further retaliation, Plaintiff submitted another complaint letter to the BPD; this

dime it was to Intemal Affairs Division Investigator Sergeant Detective John Puglia, who

was partof the newly appointed administration of Commissioner. William Evans.

105, Plaintiff's complaint letter; dated May 19, 2014 and entitled "Untruthful Statements
Made by Presenting Lawyers During Aibitration," referenced false statements made by
Attorney Taub tothe Arbitrator which violated the BPD's own Public Integrity and
Truthfulriess Policies.

106, After Plaintiff submitted this Jettér, the BPD retaliated and took negative personnel.
action against him. .

107. Plaintiff ied to-pursue his:complaint through the Internal, Affairs Division in
accordance with BPD:tules and procedures,

108. When the Internal Affairs Division would-not follow BPD ‘ules and procedures in

responding to-his complaint, and Plaintiif questioned theit actions in this.xegard, he was
ordered by Intetnal: Affairs Sup srvisor Lieutenant Detective Christopher Hamilton not
to cofitact the Intemal Affairs Division. |

Anti-Corruption Division, where he met with Lieutenant Detective Brian McEachern
and Sergeant Detective Courtney Matthews.

109, Recognizing the severity of such an order, Plaintiff sought assistance from the BPD

‘110. ‘Although:Lt: Det, McEachern promised Plaintiff that he would recéive a response:to his

complaint, the matter was léft lingering arid Plaintiff received no response whatsoever.

111, Efforts were made by ution attomey Ken Anderson to pursue the complaint against
Staff Attorney: Nicole Taub, but: there was still:no response:

112, BPD continued to:pressure Plaintiff to abandon his complaint

th the Internal Affairs Division on February. 15, 2016,

113. Plaintiff had a second meeting with : v5
Tavestigators Lieutenant ‘Detective Fred Williams

when he met with Internal Affairs Investt it Detective
and Lieutenant Detective Adrian Troy. The meeting was hostile:and isolating'and
Plaintiff was treated asthe. target of the inquiry: and told-he could only meet with the

ii

 

 

 

 
114.

115.

116.

117,

118,

119.

120:

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 18 of 64

JAD if represented by counsel, and still no complaint was-ever filed.

Plaintiff suffered more retaliation when he was denied a promotion to Detective by
Commissioner William. Evans, asa tesult of the untruthful determination.

Commissioner Evans also retaliated against Plaintiff by advising him (through. his then
Commander Captain. Haseeb. Hosein) that hé needed to undergo:a psychologi cal

evaluation.in order to be considered for the role. There was no justification for said

evaluation as the Plaintiff was already deemed fit for’ active duty'and other similarly

situated candidates were not advised to undergo such an unjustified testing for
consideration to be promoted to Detective.

The BPD intentionally réquested the psychological evaluation in order to create.a
question-about Plaintiff's mental fitness without justification.as a way of making it

more difficult for him: to achieve thie promotion he desired and deterring him from

further pursuing his complaints regarding Attorney Taub’s actions.

To-date, neither the BPD Internal Affairs Division nor the:nor the Anti-Corruption
Division have investigated Plaintiff's complaint against Attorney Taub or the treatment
the Plaintiff has recerved in bringing a.complaint against her as-a fellow BPD
employee. :

The BPD did not assign a Complaint Control Nuntiber to Plaintiff's May 19, 2014
complaint against Attomey Taub.

The BPD‘is required by its. own rules, policies and procedures to assign a Complaint

Control Number and investigate ALL complaints that it receives regarding conduct by-
Department personnel. : |

The BPD rejected Plaintiff's request for information regatding his:complaint.and the
status of any investigation, advisi ig thé Plaintiff that the matter was turned-over to the
legal department (headed by Amy Ambrick, Esq) where Attomey Taub worked at the
time. . . .

‘The BPD violated its own Rules and. Procedures including but not limited to Rule 109
when it failed to investigate Plainttf's complaint about Attorney Taub and her
dishonest. acts.

INTERNAL AFFAIRS REPORT DISCOVERED

122. As theinvestigator of the October 19, 2005 offiduty shooting; Sergeant Chinetti-had

123.

prepared a report dated: February 6, 2006 which included his findings from the January

‘18, 2006 IAD interview of Plaintiff, A redacted version.of his reportis attached.as
Exhibit A. |

_ Attorney Taub was if possession of the IAD report at the tinte of the March. 2009.

12
124.

125.

126.

127.

128.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 19 of 64

departmental disciplinary hearing and the 2012/2013 arbitration.
The redacted IAD repott shows conclusively that Taub lied to Arbitrator Ryaa, causing
him to tale against Plaintiff

‘The redacted IAD report shows Plaintiff could ot hive been untruthful in the way the
Arbitrator found him to be; itdireetly refutes the factual finding upon which the
“Arbitrator's Decision and, Award is based. |

‘The redacted TAD report shows Plaintiff told Sergeant Chinetti during the interview
hat union representatives had instructed him to invoke his Miranda rights and not to
provide the shooter's name, which is why he did not provide it. See Exhibit A, pp: 2-4,

‘The redacted IAD report shows that Plaintiff told Sergeant Chinetti he die NOT inform
Superintendent Johnson or Lieutenant Cullity that Officer Lee was the:one who
discharged the firearm on October 19, 2005.

‘The redacted IAD report shows that: Plaintiff did not attempt to: make Sergeant Chinett
believe that he had informed Superintendent Johnson or Lieutenant. Cullity that Officer
Lee was the shooter.

 

729, Th

130.

‘132:

133,

PLAINTIFF'S 2018 REQUE!

 
 

Plaintiff betame aware of the existence of the LAD report id late 2017 when he was

given the redacted copy in: comnection with a federal criminal trial‘in which he testified
for the prosecution.

‘The redacted IAD. report was contained in Plaintiff's personnel record provided by the
BPD to the prosecutor in response id-a request for said-record from the Defendant's.
attorney. in'that proceeding, a request prompted by the prosecution's disclosure of the
-ufitruthfulniess-determiriation pursuant to Brady v- Maryland and Giglio:v. US,

If the TAD Report had been provided to the Asbittator (as required by law and under the
BPD’s Rules and Procedures), the. Arbittator would have reached the opposite

conclusion and ruled in Plaintiff's favor.

Plaintiff would have appealed the May 24, 2013 Arbitrator’s Decision and. Award if he
had been aware of the content of Sgt. Chinetti’s IAD Report.

 

 

DETERMINATION AND NOTICE OF FRAUD ON THE ARBITRATOR

134, Plaintiff sent a'letter to the BPD on March 22, 2018 requesting removal of the

acquired and the exculpatory information it contained.

13

   

 

 
435.

136.

138.

139.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 20 of 64

On April 3, 2018 the BPD acknowledged receipt of Plaintiff's March 22, 2008 letier but

Plaintiff's March 22, 2018 letter explained to the BPD how the Arbitration Decision
and. Award-was based on false accusations by Superintendent Fong and Attorney Taub
that directly contradict the IAD Report that was improperly withheld from.evidence.

  

As Plaintiff described in the letter, Attomey Taub intentionally: mistepresented the

Atto mncy Tau b testified it thea ib itPatio that s erge ant ¢ chin etti fo mind that Plaintiff was
. ot futhful during the [AD interview beca iui se: Plain tiff falsely to id him | thatthe had :
advised: Superir stendent Johnson an d-Lieutena nt C wllity that: Officer Lee was:the
shooter : ty

_ Taub’é statement is reflected on page 7-of her post-hearing brief,

144.

142.
143. |

144.

145:

146,

147.

 

 

Attorney Faub’s statements constitute factual te stimony: sit legal arsottiedt,

If Arbitrator Ryan had been given.a copy of the IAD Report; he'would have recognized.
that Attorney Taub was lying : 1

 

 

Attorney Tauib made other statements of fac about Plaintiff to the Arbitrator that were
false and directly contradicted by the BPD's own internal documentation.

‘Attorney Taub accused Plaintiff of failing to provide Lieutenant Cullity with the
focation of the shooting, but BPD internal records show that Plaintiff did provide this
information to Lieutenant Cullity, enabling units to respond fo the i neident scene.

    

Attorney Taub's intentional misrepresentation of the facts to the arbitrator influenced

‘In connection with thie arbitration, Attorney Taub withheld andiotapes evidencing
Plaintiff's truthfulness.

14
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 21 of 64

 
148.

149.

150.

151,

152,

153.

154.

155.

156.

157,

138.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 22 of 64

Attorney Taub failed to follow BPD protocol with regard to producing: audiotapes

related to the reporling of the October 19, 2005. shooting incident.

The BPD's audiotapes woiild have. contained the time of reporting of the Qctober 1 9,
2005 incident atid the time of dispatch.

These tapes would have supported Pi aintiff’s truthfulness and consistent rendition of the
events.

In connection with the arbitration, Attomey Taub withheld certain CAD sheets
evidenci ng Pl aintiff's truthfulness..

The CAD sheets would have established that two-police units had already responded'to
the shooting scene based on Plaintiff's reporting of the incident.

Attorney Taub recklessly disregarded her duty under the BPD public integrity. policy
and falsified évidence, as she-distotted. material evidence and knowingly failed:to.bring.
forth evidence that a reasonable person in her position would conclude might have an
impact'on the outcome ofa matter and which prudence and justice dictates should be
brought to the attention of a magistrate, officer of the court or hearing officer.

  

The BPD was sotified of Attorney Taub’s conduct in Plaintiff's March 22,2018 letter

but-has failed to respond, or remove the untruthfulriess determination from Plaintif's
personnel file, or otherwise remedy the situation.

Attorneys Lenny Kesten and Judy Levenson elaimed to have been retained by BPB:to
investigate the matters raised.in the March 22, 2018 letter’ but no genuine investigation
occurred and they simply rubber siamiped the arbitrator’s decision.

Oi: January 2, 2019, Attorney. Levenson represenied that she and. Attorney Kesten were
providiig Commissioner Gross’s ‘Office with ateport of their findings on-or about

January 7, 2019, but: Plaintiif was never advised. by the BPD ‘of. any such findings.

In the months following:submission of the March 22, 20 18 letter alleging improper
conduct by.Attomey-Taub, she separated from employment withthe BPD.

Upon information and belief, Atiomey Taub’s unlawful conduct as described herein
was a factor leading to-her separation.

BPD CONTINUES TO WITHHOLD THE REPORT

159. Plaintiff made-multiple requests to the BPD and the City of Boston for. an unredacted

copy of the IAD Report but it was not produced.

160: Oni September 24, 2018, Plaintiff submitted a pul lig record request to the BPD,

requesting the complete IAD file for [AD Case Number 240-05, including a complete
15
161,

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 23 of 64

and unradacted copy of the February 6, 2006 IAD investigation fepott:

 

“The:BPD responded 'by providing vatidus documents from the IAD file but Hot the

_ February 6, 2006 report, claiming that it did not have a duty to produce tt,

162.

163.

164,

165.

166.

‘L167.

168.

169,

On September 26; 2018 Plaintiff submitted a request for a copy. of his personnel record,
including a copy of the February:6, 2006 LAD investigation report, gince the
investigator’s findings were used-as a basis-for pursuing negative personnel action.
against him. . oo

The BPD responded by providing various personnel records but not the IAD report.

Plaintiff challenged the dénial of access to the report by submitting an appeal to-the

Secretary of the Commonwealth, Public Records Division on December 23, 2018,

citing various legal bases supporting the Department's abligation'to produce the report.

‘On January 19, 2019, Rebecca Murray, Supervisor of Records for the Commonwealth.
of Massachusetts Public. Records Division, issued an- Order requiring the BPD to
produce the February 6, 2006 IAD Report to Plaintiff’s attorney’ within ten days, and
finding that the BPD had failed to. meet iis burden to explain how an exemption applied
to the record. See SPR 18/ 2.094 sent io Shawn A. Williams, Esq.,. Director of Public
Records for the City of Boston, aitached hereto as Exhibit B.

 

     
       

 

 

 

Attorney Williams is the fornier Supervisor of Records for the Secretary of the

Commonwealth Public Records Division and'therefore is well aware of the.

requirements for tespotiding to public record: requests.
Attorney Williams, the BPD, and'the City. of Boston have failed'to comply with the:
January 9, 2019:Order'from the Supervisor of Records and have knowingly disregarded

their obligations under thé law:

 

Plaintiff subinitted yet another request to the BPD and the City of Boston through
Attorney Williams; reminding him that Defendant was continuing to be in violation of
the January 9;.2019 Order and reiterating the request for production of the document,
but it has:still not been produced. -

   

‘The actions by the BPD and its petsonnel in initiating and prosecuiting.a frivolous
complaint against Plaintiff, iricluding but not limited to-actions by Superitténdent Fong
and .Attomey Taub, and actions by othér Department personnel to cover up, condone,
aiid fail to rectify their conduct, anid retaliate against Plaintiff, have. hurt Plaintiff's
reputation:and interfered with his ability to.be an effective: police ‘officer and detective.

   

 

170; Rethoving the untruthfulness détermination froin Plaintiff's file is required under BPD:

gules and procedures because it is inconsistent-with Sergeant Chinetti's IAD Report.

16

 
Case 1:20-cv-10656-RGS Documenti1-1 Filed 04/02/20 Page 24 of 64

REPUTATIONAL HARM AND LOST PROMOTIONAL OPPORTUNITIES

171, Plaintiff has been hyper-scrutinized by BPD-personnel because they perceive him as
dishonest based onthe untrathfulness determination that was reached.

172, Plaintiff's professional-and personal reputation in the community has been irreparably
damaged asa result of this untruiihfulness determination.

173, Having the untruthfalness determination in Plaintiff's record has and will confinve.to

permanently impact his opportunities for promotion within the BPD and employment
opportunities with other agencies for the remainder of his éareer‘in law enforcement.

174. Credibility and truthfiilness.are’essential funictions of Plaintiff's job'as a police officer,
especially when testifying as-acwitness for the prosecution iti ériminal: court
proceedings..

175. Having, the usitruthfulness determination in his file means Plaintiff is permanently
labeled-as someone who:cannot be trusted to tell the truth.. ,

 

176;. Having the untruthfulness determination in his file means that whenever Plaintiff is
called upon to testify: for the prosecution in'a federal criminal trial, the untruthfulness
determination has to be provided by. the proséoutor to the Defendaiit's attorney in
connection with a Brady/Giglio request, meaning that Plaintiff's credibility is impaired,
thus impairing the prosecutor's ability to gecuré’a corviction..

 

177, The BPD knows that this untruthfulness determination is based on false testimony and.
withholding of evidence by Attoniey Nicole Taub, soit must not allow this
determination t6.be.introduced in any such criminal proceeding.

 

178. Failure to remove thie untruthfulness determination will cause further irreparable harm
‘6 the riminal justice systemvand the victims itis designed to-protect.

179. On multiple occasions since serving his suspension in 2009, Plaintiff has taken the BPD.
promotional exam seeking promotion to Sergeant but has:riot been successful in
receivitig this: promotion.

180. Prior to his suspension in 2009, Plaintiff was enrolled in college courses-and in the

process of pursuing his bachelor’s degree, with'a goal of completing this and

‘stibsequently completing his master’s, so that he could incréase his compensation:and
advanceinto a sapéivisory role within the BPD:

(81, At of around the:time of his suspension if 2009, Plaintiff was forced to withdraw from.
his courses and bachelor’s degree program because he was unable to-perform the
‘necessary coursework due to the treatment -he was facing ai work.
17

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 25 of 64

t

) to complete his bachelor’s degree and failure to achieve a promotion
uid Plaintiff’s

 

182. Plaintiff's inability t0 complete his bachele :
to sergeant are directly attributable to Defendant's unlawful conduet and !

    

anxiety and emotional distress caused by this conduct.

183, Had Plaintiff completed his bachelor’s degree and/or achieved the promotion #0
sergeant, he would have beea receiving Ce ae snstion tas he has been

receiving as a patrol officer, and he would have had more advancement opportunities,

available to him within the BPD including promotion to Tientenant and captain.

184. Plaintiff has been atid continues to be deprived of compensation, educational

opportunities, and career advancement opportunities, as a direct/and proximate result of
Defendants’ actions described herein,

185. Defendants’ actions have caiisedl and are. Continuing to cause Plaintiff to.suffer monetary
‘losses, harm to his reputation, harm-to his‘ ability to perform his job.as a vite officer
and his ability to participate in basic life activities, and harm to his emotional and

DECEMBER 18, 2018 NOTICE AND REQUEST TO BPD

186. The BPD has been notified multiple times by Plaintiff of thé ethical and legal reasons it

must remove the untruthfulness determination from his file, but the BPD has failed to
take the:necessary: action.

187. On December 18, 2018, Plaintiff submitted a letter to the BPD seed ia ross
for removal of the unttuthfulness determination from bis file, noting the urgency of his
request given that he had been called upon to testify for the prosecution in-an upcoming
federal criminal proceeding. | 3

188, Curiously, the proceeding never went forward as a plea bargain was reached wherein.
‘the Defendant pleaded guilty to. far less serious charge.

189, “The plea bargain alleviated the néed for Plaintiff to testify and thu salleviated the need
for the untruthfulness issue to be addressed for purposes’ of that court proceeding.

190. Failure to remove the untruthfulness determination means Plains il coninse tbe
considered a “Giglio impaired witness” in federal criminal proceedings in which he
testifies. .

191, By failing to remove the untruthfulness determination, the BPD is condoning dishonest
and corrupt ‘conduct by its agents and knowingly impairing Plaintiff s ability to serve as
a credible witness for the prosecution and knowingly impeding it abi to
criminals.

18

 

 
192.

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 26 of 64

 

Plaintiff has iicurred significant att
determination removed and his reputation resto

ificant attorney's fees attempting to-have the untruthfulness

tati within the Department andin the
D's otal own internal
policies: demonstrates an ongoing tolerance of corrupt activity and unlawful conduct by.
Department persofinel at all levels.

 

community, and the BPD's failure to take action'as requited by law-and

 

 

CURRENT ASSIGNMENT

193

194.

195.

196.

197.

198.

199.

_ On Auguat 5, 2019 Plaintiff leamed he is now assigned to work under Lieutenant
Detective Fred Williams.

This assignment is problematic and creates a hostilé work environment for Plaintiff
because of Lt, Det. Williams’ participation in negative actions against Plaintiff in-the
past.. .

Lt. Det. Williams was the superior officer fron the Internal Affairs Division who met

with the Plaintiff regarding his complaints about Attorney Taub, and.was a recipient of

‘Plaintiff's May 19, 2014 Complaint, which he refused to.accept or investigate.

Lieutenant Detective Williams refused to speak with Plaintiff and hung up the phone on
him when he called -to inquire about the status of his Complaint.

Working under Lt. Det. Williams? supervision is causing Plaintiff to experience a high
level of anxiety and is a constant reminder of the continuing fetaliatory treatment he
endures and the baseless untruthfulness determination that remains in his file.

     
    

me (Asto all Defendants) —
‘Plaintiff incorporates by reference the preceding paragraphs of his Complaiitt as though
fully set forth herein. |

‘Defendants aré"persons” under 42°U.S,€. §1983 ‘who have'acted "under the color of
state. of law" by using power they possess by virtue of state law and deptived Plaintiff
of rights secured by:the U.S. Constitution and: federal. statutes.

Defendants’ violations of 42 U.S.C, §1983 include but are not limited to: failing to
provide Plaintiff with notice the basis for the accusation of untruthfulness against him,
and charging. the basis for the accusation withor t notice; interfering with Plaintiff's
rights to:be free from being labelled as a Giglio-impaired witness, and interfering with:
the prosecution's ability to prosecute federal criininal cases where-Plaintiff is @
government witness, negatively impacting victims’ rights; refusing to process.or

investigate Plaintiff's complaints to the BPD about Taub’s untruthful statements:during
49

  
 
  
 

 

  
Case 1:20-cv-10656-RGS Document.1-1 Filed 04/02/20 Page 27 of 64

x

_ the-arbitration and related issues; retaliating against Plaintiff for ehpaging in protected
speech involving a matter of publi d-speak erck
to free speech:and due process of law and tights against self-incrimination and.
iferiminatioti of'a fellow union member; questioning Plaintiff's mental fitness and
requiring him to undergo an unjustified psychological evaluation as a retaliatory

 

oe *

of public concern and.speaking out and exerct ing his rights

  

sieasure; depriving Plaintiff of his property rights and right 16:possess his own personal

firearm. and his tight against. unreasonable search and seizure; pursuing a groundless
complaint against Plaintiff-in February 2008 as 4 retaliatory measuré in response 10
written desnands ftom Plaintiff for the return of his personal firearm that had: been

unlawfully withheld; depriving Plaintiff of the IAD investigation report that.would have

exonerated him with regard to allegations against him for untruthfulness.

201,, In committing these violations of Constitutional. and statutory rights, Defendants Gross,
Evans, Davis, Taub, Fong and Williams were acting in their respective official

capacities as agents of the BPD. and the City of Boston, and their actions were Carried

out pursuant to an official policy and custom of the BPD and/or the: City of Boston.

202, Itis'an official policy and custom of the BPD andthe City: of Boston to retaliate against

employees like Plaintiff who'complain about unlawful and dishonest actions by high-
ranking BPD personnel, and to try and cover up said actions:rather than correct them.

203, Defendants’ actions pursuant to'this official policy and custom. have caused and will
continue to cause Plaintiff to suffer moneiary losses, harm to his professional and

te

! mis'abiinty top job as a police officer and his
health.

personal feputation; harm to.his:ability to perform his

204. Accordingly, Plaintiff is entitled to recover damages from Defendants-as a result of
their immediately above-described unlawful conduct.

305, Plaintiff is entitled to recovery: of his attorneys fees and costs from Defendants pursuant.

" to applicable law including but not limited to the Civil Rights Attorneys Fee Awards
Act of 1976, 42 U.S.C. §1988 [b].

206. Plaintiff is:entitled to. recovery of punitive damages from Defendants under applicable
law including but not limited to Smith:v. Wade, 461. U.S, 30(1983) andrelated case
jaw, because Defendants’ conduct was reckless and/or callously indifferent to the

federally-protected rights of others and/or Defendants were motivated by évil intent.

      

- . ~ (As to all Defendants) Se

 

207. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though.

fully set forth herein.

20

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 28 of 64

208:

209.

210.

ari,

212.

213.

214,

216.

fot the security of persons and ‘property as is enjoyed by white citi

‘application of personnel p

Under 42 U:S.C. § 1981{a), all persons within the jurisdiction. of the United States’ shall
‘erritory.to-miake and enforce contracts,.to sue,

have the same tight in every Stat :
be parties, give evidence; and to the full and. equal benefit of all laws and proceedings
tizens,and shall be

  

   

subject to like puiishmient, pains, penalties, taxes, licenses, and exactions of every kind,

and'to no other.

Plaintiff is'a person of color and a “person” within the meaning of 42US.C, §1981(2).

performance, modification, and termination of contracts, and the enjoyment of all
benefits, privileges, terms, and conditions of the contractual relationship.

As described herein, Defendants have acted to impair and Violate Plaintiff's rights and
protections that are guaranteed to him under 42.0.8.C. ‘$1981.

‘The impaitmént and violation of Plaintiff's rights in this regard resulted from a custom
and/or policy maintained by Defendants within the meaning of 42 U.S.C. $1981 and as
described in.detail herein.

Said custom and/or policy-has caused Plaintiff to be treated less favorably than white
employees (including but not limited to

 

      

privileges, terms.and conditions of emplo: itient, including but riot limited tothe
disciplinary process, the Handling of com aints against Department personnel,

olicies and BPD Rules, the BPD public integrity policy, rules

    

   

 

 

‘governing exculpatory evidence and falsification of evidence, and other aspects of the

employment relationship with BPD.

The BPD and its agents named herein refused to accept Or investigate Plaintiff's
complaint.about Attorney Taub’ “violation

policy, and refused to assign i
Departinent rales and poli¢i
Department personnel.

¢ dishonest conduct and violation of the public. integrity

‘omplaint Control Number as required under:

 
 
 

 

 

 

 

, and as is the normal practice with all complaints against

The BPD: and its agerits:narned hereiti unfairly disciplined Plaintiff'as a result-of Taub’s

dishonest and fraudulent conduct and have taken'no action to.remedy: the resulting harm
suffered by Plaintiff upon learning ‘Taub’s conduct was dishonest and fraudulent.

Defendants” actions constitute intentional discrimination on the basis of race.,

In-committing the acts described herein, Defendants have aéted tinder color of state Law
within thé meaning of 42 U.S.C. §1981(6).

42 U.S.C. $1981 is substantive and not remedial, and 42.U.S,C, $1983 provides the

remedy for a plaintiff to pursue claims for damages agairist state governmental units for

violation of tights guaranteed:by § 1981, .
aa

and

   
 

 

Attorney Taub): with respect to various benefits,
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 29 of 64

219.

220.

221.

992.

273..

224.

228,

‘for. advancement,
‘to participate in basic life actis

ion have:caused and will continue to cause Plaintiff to ‘suffer monetary

Defendants’ ac ;

loss inclu t-not limited to lost eamings, attomey s fees, and other out-of-pocket
expenses, as well as harm to his professional and personal réputation and opportunities
to his ability to perform ‘his job.as a police officer and his ability
fe activities, and have caused Plaintiff to'expetience emotional
distréss and harm to his.mental and physical health. ,

  

      

 

Accordingly, Plaintiff is entitled t0 recover damages from Defendants under 42 U.S.C.
§1983 as a result of their violations of 42 U.S.C. §1981 described herein.

Plaintiff is entiiled to recover aitomneys-fees.and costs fron Defendants under
applicable law.

nitive damages from Defendants as Defendants’
indifferent to the federally protected tights of

 

  

 

éthers and/or Defendants were motivated by evil: intent.

   
  

LATE CIVIL RIGHTS +42. U:S.C. § 1985

   

Plaintiff incorporates by reference the preceding paragraphs of his Complaint as'though
fully-set:forth:herein.

arty to n. agree ent between two-or more state-actors who acted in
rived Plaintiff of his constitutional tights and federal statutory-rights as

;

"persons" under:42 U.S.C. § 1985 who acted “under the:col or of state

  
  

 

Defendants were. acting in. concert to commit one or more said unlawful acts and/or:to

commit one or more said lawful acts by unlawful means,
The actions of Defendants resulted in damages io Plaintiff as described herein.

These damages are a direct, proximate and foreseeable result of Defendants’
conspiracy. -_

Plaintiff is entitled to recover damiages fréri Defeidants as’a fesult of their above-
desciibed unlawful conduct, a1 titled to recover attorneys fees and costs from.

 

Defetidants under applicable law.

intiff is entitled:to recovery of pur itive damages from Defendants as Defendants’
conduct was reckless and/or callously different to the federally protected rights of
others, and/or Defendants were motivated by evil intent.

    
230.
334.

334,
235,

236,

237.
238.

239.

240..

241,
3A?

243,

IAD: interview clainiing that he to

  

UNEAIR. LABOR SES ~ G.L, 1508 .§ 10

(As to Boston Police Depariment. and City of Boston).

Plaintiff. incorporates: by zeference.the preceding paragraphs | of. his Complaint as though
fully. set forth herein.

Plaintiffis an “employee” > within the meaning of the. Massachusetts collective
bargaining law, GL. ¢. 150, § 10(a)..

Defendant BPD is a“public employer” within the meaning of G.L. c, 150E, § 10(a).

Defeiidant City of Boston isa “public-employer” within the meaning of GL... 150E,
§ 10@). | : |

Defendant Taub isa “designated representative” within the meaning’of G.L.c. 150E,
§10@)

Defendant Fong is a “desi gnated representative” within ‘the meaning of G.L..¢, 150E,

§ FO(a):

As. described hereii, Plaintiff received: aseistance: and instruction: from. his-union

representatives in-connection. with the. questioning: and investigatory interviews on
‘October 19, 2005

atk autkner- Hospital, inéluding' an instr ction'te- refrain from telling

investigatory officers that it was'Lee who shot. ‘Mencey.

   

  

During the January 18, 2006 TAD investigation 1 interview, Plaintiff told, Sergeant

Chinetti how he had received this instruction.

AS: described: heréin, Defendant BPD: and-the City of Boston retaliated against Plaintiff

ee Bes

for exercising these. fights he hiad as anion member,

Sergeant Chineiti’s February 6, 2006 report reflects the forégding information.

In. 2008, ‘more that two:years. after'the October 19, 2005: shooting | incident, Defendant.

 
         
  

against P Plaintiff and. alsely accused | im.of lying during the.
6 had informed the

investigating officers. that Officer Lee shot Officer ‘Mancey:

Defendant Fong had a retaliatory motive.and lacked'a legitimate basis. forthe
complaint:

Defendants have never provided Pl aintiff witha copy of Sergeant Chinetti’s IAD
report.

Sergeant: Chinetti’s report contains exculpatory evidence showing that Plaintiff did not
23
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 31 of 64

244,

246,

247.

248.

249.
250,
251.

232.

253.

255.

make the statement Fong accuses him of making,

Defendants have engaged in prohibited practices under G.L..6. IS0E;-§ 10 as described
above. — Se

Defendants pursued disciplinary action against Plaintiff in Connection-with a situation.
where he was exercising his rights.as.a union: member and following instructions from.
his union:representative where, upon information and belief, the union representative:
was seeking to protect the rights‘of all union members’ involved.

Additionally, Defendants’ conduct: constitutes a prohibited practice under

Massachusetts law including G.L. c. 150B, § 10-because, under the circumstances,
Plaintiff’ s. statements during the IAD jnterview cannot be.used against him as a basis

for discipline.

Plaintiff has suffered and is continuing to:suffer econartiic and non-ecotiomic damages

as a direct, proximate and foreseeable result of Defendants’ conduct, and has the right to

recover these damages from: Defendants, including attorneys. fees, costs abd. punitive

damages.

  
 

      

ity of Bos

‘Plaintiff incorporates by reference the preceding paragraphs of bis‘Complaint as though

fully set forth-herein. —
Plaintiffis-an "employee" as‘defined i GL. c. 149,.§185(1),
Defendant BPD is an "employer" as-defined in GL. c:. 149, §185(2).

Defendant City of Boston is an "employer" as defined in-GLL. ¢, 149,.8185@).

 
  

Defendants BPD and City of Boston have taken teialiatory action against Plaintiff as
described herein, in‘ sponse to Plaintiff objecting io-and complaining about unlawful.
and unethical -conduct by Defendants including but not limited'to conduct by Defendant

Taub which Plaintiff believed posed a'tisk to the public's well-being.

Plaintiff has suffered ecotiomic and non-economic hartn as'a result of Defendants’

violation ‘of this: faw.

Plaintiff lacks ati adequate remedy at law-and is entitled to equitable relief including but

not limited to 4 temporary restraining order-and/or injunction, restraining the

Defendants from continuing to violate this law, as provided in GL.<, 149, §185(0).

Plaintiff is entitled to imniediate removal of the untruthfulness determination from his
24

 

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 32 of 64

256.

257.

258.

259.

260.

261.

262.

263.
264.

the amoustit of lost.wages resulting from the...

. vomotion and other lost compensation plus interest
nticipated future lost earnings, plus:attorney's fees and costs,
ite ¢ attortieys' fees and costs incurred in notifying -
Defendants of the unlawful-and unethical practice and affording Defendants multiple

opportunities to correct the activity'as a way of avoiding this lawsuit:

  
 
   
 

 

     

(As to Boston Police Department and City:of Boston)

Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though.
fully set forth herein. .

Defendants BPD. and City: of Boston have violated the Massachusetts Personnel Record.
Law by failing to provide Plaintiff with a copy of the February, 6, 2006 IAD
investigation report prepared by ‘William Chinetti in FAD case. no, 204-05.

Plaintiff was entitled to receive the TAD report no later than February 2008 when

Superintendent Fong filed a Complai i against Plaintiff alleging that he was untruthful
during the TAD interview,

 

The findings and conclusions of Sergéant Chinetti. contained in the February: 6, 2006

IAD report directly relate to Fong’s Complaint and the disciplinary action that was.
subsequently taken by Defendants against Plaintiff as a result of this Complaint.

 

The February 6, 2006 report actually refistes Superintendent's Fong's February 20, 2008
complaint against Plaintiff,

‘The February 6, 2006-report also refutes Taub’s statements to: the Arbitrator: about what
Plaintiff told Sergearit:Chinetti during the'interview..

Defendants BPD and City of Boston have continued to unlawfully withhold the
unredacted February 6, 2006 report-as an ongoing vi olation-of the Massachusetts
Personnel-Record Law: 7

‘To date Defendants have failed to produce the unredacted report io Plaintiff despite
multiple requests.

The untruthfulness determination remains in Plaintiff's personnel record, yet the

Defendants continue to withhold the report upon which this faise accusation is based.
‘Deféndanite BPD:and the City of Boston have violated the Massachusetts Personnel

Record Law by'refusing to remove the untruthfulness determination from Plaintiff's
record. 7 oe

25
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 33 of 64

266. Plaintiff is alsé entitled to recover. penalties against. Defendants for knowing disregard
of its obligation and misreprésen ing to.the Supervisor: of ‘Records for the
“Massachusetts Secretary f State's Office that Plaintiff had a unique fight: of access.t0
this document.as a way of trying to: avoid production of the document undér the
‘Massachusetts Public Retords. law GL. ¢, 66, §10.

  

 

267. Plaintiff’ submitted a request to: the BPD for expungement pursuant to GiL..c, 149, §52C
on March 22, 2018, séeking removal: of the untruthfulness determination from.
Plaintiff's: personnel file‘on grounds that the untru iruthfilnéss determination was based:on
an arbitration decision that directly, coiiflicts with Defendants’ own intemal records (thé
TAD report), and itis based onan arbitration decision’ that: resulted from fraudulent
misrepresentations of fact by. a BPD employee.

  

268. ‘The March 22, 2018 request to BPD was prompted by Plaintiff’ s receipt of the heavily
redacted version of the [AD investigation: report afterit-was. provided iohim by a third
patty in:connection with a federal criminal trial in which he was ‘testifying as a
prosecution witness:

 

 

269, The BPD cknowledged receipt of the: March: 22, 2018 request by way of a letter on
April'3, 2018 and. stated that the request was being reviewed, but to date has failed to
respond substantively and failed to remove. the untrothfulness determination.

 

   

 

270. Plaintiff’ submitted another request | for removal. of the untruthfulness determination, on
‘December 18, 2018, .as prompte by concer that the presen eof thiguntruthfulness
determixation. in his file would impair the prosecutor's:ability to.s cure a-conviction in
afi upcoming federal tial, as Plaindff would be considered a. Gigh impaired. witness.

 

 
 
  

 

27%. Defendants didnot respond to: Plaintiff's December 18, 2018 request and. did.not
‘remove the untruthfalness: determination.

272. Defendants were obli igated. under the Personnel Record Law to. remove ‘the
untruthfulness determination becays has.an: obligation to'make. corrections to.an
employee! 5: persorinel: gecord when. fals information inthe record'comes to its:
attention:

 

 
  
 

273. By failing to ake’ this: correction: jo Plaintiff's personnel record, ‘Defendants are
allowing: the continuation of a dishonest and corrupt action. and. ‘condoning. said conduct.

 

274. iti is clear from the redacted version of the LAD report that the. Arbitrator's finding of
untruth Iness can no: longer be spor as-valid, and the personnel record must be
corrected, as: ‘required under the yersonniel Record Law.

 

 

 

 

275. Plaintiff has suffered and isc tinuing: to'suffer ecotiomié anid non-economic: hari as:a
result. of Defendants unli atand is: efititled to:an award of monetary
damages.

   
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 34 of 64

26.

IT.

 
 

(As to Boston Police Depariment, the City Boston, Shawn

278.

279.

280.
281.

282.
283.
284,
285,

286.

 
  
 

itable relief inchiding but not limited to production of an
i's personnel record, attorney's fees dating back to: 2008
ve been produced by law. |

Plaintiff is also-entitled to
iunredacted ‘copy-of the repo
determination from :Plaintif

when the récord should hi

  

 

 

Plaintifflacks an adequate remedy at law and is.entitled to equitable relief and recovery

of money damages from Defendants as.a result of these violations:

 

66,8 10

Gross).

SACHUSETTS. PUBLIC RECORDS LAW G.L. ¢
ye and Wi

Williams

     

Plaintiff incorpotates by reference the preceding paragraphs of his Complaint as though

fully set forth herein,

“The: Massachusetts Public Records Law (MPRL”) strongly favors disclosure by
creating a presumption that all government records are public records, and the burden 1s

on the Defendant to prove by a preponderance of the evidence that an exemption
applies allowing withholding of any portion of the record.

Plaintiff made a public record request to Defendants City of Boston and: BPD on.
September 24, 2018.

Attomney Shawa Williams is the Director of Public Recotds and Records Access
Officer for the-City of Boston and its agencies including the BPD.

Under thé MPRL, Defendants BPD, William Gross as Commissioner, the City of

‘Boston, and Shawn Williams, are custodians of the public record Plaintiff seeks, @s per
‘the admission to this factin a September 27, 2018 correspondence.

Defendants BPD, Commissioner Gross, the City of Boston, and Shawn Williams were

required to provide Plaintiff with an uriredacted. copy of Sergeant Chinetti’s February 6,

2006 TAD investigation report in response to Plaintiff's September 24, 2018 public

These Defendants violated the MPRL by failing to provide the'record within 10 days
and failing vo:demoristrate the application of any exemption.

These Defendants are continuing to. withhold the record without having demonstrated
the application of any exemption under the MPRL, in. violation of the January 9; 2019
Order from thie Supervisor of Records for the Secretary of the Conimonwealth,
Defendants have continued: to ignore subsequent requests for the record from Plaintiff
dated April 26, 2019 and June 21, 2019 requesting compliance with the. January 9,
2019 Order and attempting to:0 hov

 
 

tain the record without the need for a lawsuit.

27
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 35 of 64

287.

288.

289,

290.

291

292:

293,

295,

296,

in hier January 9,20

 
 
 
 

 

Plaintiff's arid the Jantiary.9, 2019 Order were received by Defendant
Shawn Williams, who is-or should be aware of the MPRL- quirements.and.
Defendan gation to produce thé record, as he previously served as Supervisor of
Records for'the Contmonwealtli of Massachusetts, — : .

   

 

 

Under G.L. 0.66; §64, Shawn Willianis has obligations as Records Access Officer to
coordinate the response from the BPD.and the City of Boston and produce the
requested report ina timely manner, which he failed to-do here.

Attorney Williams actions are-part of a pattern: and policy and overall. practice. by

Defendants BPD and City of Boston of deliberatély ignoring their obliga ions under the
law for the purpose of hiding the truth and creating hurdles for the Plaintiff in seeking
removal of the untruthfaliess determination and clearing his name.

“The Supervisor of Records for the Commonwealth of Massachusetts specifically found

019 Order that Defendants failed to demonstrate the application of
any exemption to the MPRL that would justify withholding of the February-6, 2006
TAD investigation report |

 

 

. Defendants did not appeal the January 9, 9019 Order'so itis final and binding on

Defendants.

Plaintiff is entitled to-recovery of his'attornéy's fees under the MPRL, including but not
limited to: fees telated to preparation of the March 22, 2018 letter to Defendants in
which said record was requested initially, and all subsequent work leading tp.to.and

includitig the filing of this lawsuit, as the redord has still not been produced.

 

Defenidanits denied access to the report based on an allegation that Plaintiff had a
"unique right of access" to the record; however the Supervisor of Records for the. _
Conimonwealth of Massachusetts rejected this. argument, given that Plaintiff and his

current and former counsel have all been denied access to the report:since 2006.

Defendants also denied Plaintiff access to the report on grounds that it falls within
exemption (f) pertaining to investigatory materials, but the Supervisor of Records for
the’ Commonwealth of Massachusetts rejected this argument, since Defendants could
not show how disclosure of the report would reveal confidential investigative
techniques that are-unique tothe BPD or how disclostire would prejudice.the possibility
of effectivelaw enforcement. ae

  

 

‘The Supervisor of Records recognizes that statutory exemptions arenarrowly construed
and are not blanket in nature. -

Defendants* unlawful:actions have caused Plaintiff to suffer economic and

Defendants:
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 36 of 64

997.

298,

299.

300. P

301,

There is:a presumption in favor of awarding Plaintiff his attorney's fees and. costs under

‘the MPRL.

Punitive damages shouldbe assessed against Defendants: under the facts of this case, as
they. did not act in good faith as pet GL. c.66, § OAC).

Plaintiff is entitled to.an expedited ruling on this claim wnder'GL. c. 66, § TOA(d)()).

COUNTVEL
DECLARATORY. JUDGMENT
(As.to Boston Police. Department and: ‘City of Boston)

 

laintift incorporates by reference. ihe preceding paragraphs of his. Complaint as though

‘There is ah actual controversy: between: ‘Plaintiff-and Defendants: regarding the:

production of requested techn, particularly the February 6, 3006. TAD report described

- herein.

302.

304,

‘305,

306.

Pursuant £0: G. L. o, 23 LA: id thé. Massachusetts: Publi¢ Records Law, ‘Plaintifti is
ion he:record he has requested 1 #8 a: public record within. the

   
 

 

meaning o 2 1 66, § 10-and'the release-of this record to him:(unredacted as to: all

information: pértaininig to: ‘hita) igrequired by law: and the Defendants have no night to:

withhold such record.

Te the alternative; ‘pursuant tO GL 31 A and the Massachusetts Personnel: Record
tiff is entitléd:to.a deci aration that. the record -he-has requested i is a.personnel
49; § 52C and ‘that Defendants are fequired by
intiff since information iisaid-record formed the:
ing d disciplinary action against P. ntiff, including’ unpaid.
suspension ¢ and: placing & an: cuniruthfulness determination in lis personnel file
permanently

  
 
 

   

 
 

Plaintiff is entitled to recovery of. his attorneys fees: dating. back tolat least:2008: whien
Defendatits were required to. provide-him witha copy of the record.

. COUNT IX | —

 

Plaintiff. incorporates: by: reference the e preceding paragraphs:¢ of his. Complaint: as though
fully set forth herein.

Under the’ ‘Personnel ‘Record: ‘Law, G. L. 149, § 9C, an employee'has the ri ight to.
correction. of false information. that appears.in. his personnel, record and:expungemient of

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 37 of 64

307.
308.
309.

310.

3h.
S12.

313.

314.

313.

316.

Defendants are-in possession of a document (the February 6

documenis in his file containing false material.

‘Under this siafute, the employer is obligated to make the eorreotion and remove the

docuinerit(s) immediately upon receiving notice of the false information:

Plaintiff is an “employee” within the meaning of this statute.

Defendant BPD is an “employer” ‘within the meaning of this statute:

Defendant City of Boston isan “employer” within the meaning of this statute.
3 arein pe uary 6, 2006 LAD report) that
directly refutes the untruthfulness detefmination in Plaintiff's personnel record:

   

Deferidants.are aware that the uniruthfulness.determination 4s based on falsé
information.

At the time Defendants placed the February 6, 2006 report in Plaintiff's personnel

record, they knew or should have known it contained false information

Defendants’ failure to.remove-the untfuthfulness determination vi olates the
Massachusetts Personnel Record: Law and. other Massachusetts arid federal laws.as

Deferidants’ failure-to remove the untruthfulness determination also violates the BPD’s
own rules and policies'as described herein; including but not limited to its public

integrity policy:

Failure by the Defendants to.remove the untruthfulness determination will also cause

harm to third parties and cause interference with the federal criminal.justice system, as
Plaintiff will be considered a “Gi

 

| 3 alio impaired wimess” based on a meritless
untruthfulness determination, thus impairing the prosecutor's ability to secure
convistions.in said proceedings: ,

  

Under GL, ¢, 149, § 52C, Plaintiffis entitled to issuance of an Order from this
honorable Court, requiring that De fendants permafiently remove the untruthfulness

 

determination from his:personnel record.

317, Plaintiff lacks‘an-adequate remedy. at law.

318.

319,

Plaintiff has suffered and’ will continue'to suffer economic and: noneconomic damages

as a.restilt of Defendants” refusal toremove the record.

In. addition forémoval of the untruthfulness determination, Plaintiff is entitled to
recovery of these damages, including attorney's fees in seeking removal.
320.

321.

322,

324,

325,

326;

327:

328.

Timited-t6 bart ‘
advancement, psychological att, and. harm 10 his ability to participate: ‘basic life

 

(As.to Boston Police Department ‘and City of Boston),

Plaintiff incorporates by. reference the: preceding: paragraphs ¢ ‘of his Coriplaint: as though

_fully set forth herein.

As explained: herein, Defendants have refused 16. remove the: untruthfulness

    
  

d and have. refused to-producé an _
) investigative ri-déspite being legally

‘being requested to'do.so: multiple times: by.

determination from: Plaintiffs personnel rec
unredacted copy of the February 6; 20
obligated to:take these actions and despite
Plaintiff.

   

Plaintiff.is continuing to suffer irreparable harm as. a result.of Defendants’ ‘refusal to’
remeve- the untiuthfulness determination’ from his: record: “This ineludes but'is not
perform his jc opportunities ‘or

  

 

 

 

activities.
Plaintiff lacks an adequaté remedy at law.

ln Hight of the foregone id: the: iri eparabl s harm. 10 Plaintiff, itis necessary that the
ordering: Jefendant to remove the

relief includit

pe file; ordering Defendants to

‘of th report; and-ordering Defendants

e thr: the E otice ‘indicating Plaintiff has beet. éleared regarding
this previous: untruthfulness finding.

 

         
 
 
 

 

 

Plaintiff is entitled to recovery of his.attorneys fees from. Defendants for all legal.
services. performed i in seeking’ femoval of this baseless. uniruthfuiness determination.

 

(Asito. Boston P lice Department and City of Boston)

Plaintiff incorporates by refererice'the. preceding. paragraphs‘of his Complaint.as though
fully ‘set forth herein.

Defendant BPD has: aéted in vidlation of Massachusetts common law: by engaging in
civil conversion.whenit. retained possession of: Plaintiff's, personal firearm without
Plaintiff's ‘permission and without a legal basis to. do $0.

Plaintiff's personal fireammin
4s. continued: possession: for:

 

‘Defendant's initial reason for taking possession of
connection with th October 2 cident did not justify
anextended period of t time of approximately four years.

   

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 39 of 64

333.

334,

335:

336.

337.

338.

~ Superintendent Jo

fined to possess: ‘the firearm without Plaintiff's permission ¢ and without
tion despite written: demand from Plaintiff and his: former attorney to

Defendant. ce
legal. justifi

  

teturn the firearm:

Plaintiff ‘has suffered economic. and non-economic damages'as.a result.of Defendanis’

unl awful conduct and is entitled to recover same:from. Defendants.

COUNT: XI
FRAUD
(As ito the the Defendants)

 

_ Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
fully set forth herein. |

.. Ag more fully described herein, Attorney Nizole Taub intended to defraud Plainuff and

intended to defraud. Arbitrator ‘Ryan into: ruling: against Plaintiff in connection with the
2012-2613 arbitration.

 

Attorney Taub intentionally’ ‘and knowingly. made. tiaterial mi isrepresentatiotis. of fact to

ichael Ryan and intentionally and knowingly withheld from evidence the
16 ‘her testimony arid refuting: the untruttifulness accusation against
Plaintiff, evide ce which 3 Plain distovered-only after thé tedacted February-6, 2006:
report was given tochim: by a third party in late: 2017.

  
 
   

Attomey Taub, represented io Arbitrator Ryan: that Plaintiff had. been: untruthful. during
interview in that he told the: IAL investigator that-he had provided

nson and Lieutenant Cullity: with thie name’ of the shooter in the
Oétober 19, 3005 incident.

    
   

 

 

‘This was-a- false statement of fact because Plaintiff: did. NOT. tell the. TAD: ‘investigator
that he-had provided: Superintenden firisoti and Lieutenant Cullity with: the nameof
the shdotér:in the October 19, Jaintiff told the IAD

 
    

05 incident: to the contrary; Pl
investigator that he. had NOT informed: these officers of this. particular information. See
{AD report, Exhibit A, Pages 2 + 3,

Plaintiff told the IAD investigator that his union representative | had instructed: him NOT
to provide this detail and that the union attomey-had instructed him:to: invoke-his

   

Miranda Rights so ‘he complied. See Exhibit A, Pages : 2-3.

Attomey Taub. purposely withheld the {AD investigation report and knowingly
misrepresented the content of the: report: and findings of the LAD investigator, knowing
that her statements to the: arbi “about. this were false, and intending to have the
arbitrator rely upon hér statement. in'reaching the conclusion. that Plaintiff had been

untruthful.

3

 

 

Attorney Taub knew that by ‘withholding the IAD report from the arbitrator and from
32 s

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 40 of 64

340.

341,

342.

343,

344.

345,

346.

347.

348.

Plaintiff and his attorney, the arbitrator would have'no way of knowing that she was
lying.

Given that Attorney Taub had ai ethical duty to be truthful under the professional rules:
of conduct governing attorneys and under the BPD’s public integrity policy, the
arbitrator's reliance upon her statements was reasonable. .

‘The arbitrator was defrauded into tuling:against Plaintiff at the arbitration by: Attomey
Taub's false statements of fact. . . .

Arbitrator Ryan, found that there had been just-cause for Plaintiff's 2009 suspension for
violating Rule 102, §23 (truthfulness) based on the finding that Plaintiff had been

antruthful during the January 18,, 2006.1AD investigation intérview when he told the

interviewer that he had provided the investigating. officers with the identity of the
shooter on the’night of the October 19, 2005 incident.

T-was Attorney Tautb's fraudulent mistepresentations of fact that led Arbitrator Ryan to
-yphold the suspension ‘and.find that Plaintiff had been untruthful; the arbitration

decision, including page 31 of said. decision, says the arbitrator specifically relied upon

her characterization of Sergeant Chinetti’s findings

It was only afier Plaintiff had received.a redacted version of the report in late 2017 that
there was conclusive proof that Attorney Taub had misrepresented Spt. Chinetti’s:
findings |

Attorney Taub’s testimony. about this key fact determined the outcome of the:

If the arbitrator had been presented with:a copy of the EAD Report as.opposed-to false

statements from Attorney Taub:about what the Report stated, he would have ruled in.
Plaintiff's favor.

As desctibed herein, Attorney Taub made other false'statetnents of fact-and.
mischaracterized other evidence during the arbitration; which impacted the result

it caused:the. arbitrator io have a negative impression of Plaintiff's overall

 
 
  

Attomey Taub cherry-picked certain portions of the IAD interview transcript and left

out other critical statements-as a.way of making Plaintiff appear untruthful.

While generally ‘speaking it is deceptable for attomeys to focus on portions of the

 
   
  

‘gument they-are putting forth, in this case-her

evidence that:support the legal arg th, in thi -
nt misrepresentations because the findings of the AD

statement constitutes fr

 

interviewer were available but that evidence was purposely withbeld by Attorney Taub,

enabling her to téll the Arbitrator that the interviewer-had made the opposite finding.
 
 

349, .

 
   

srepresentations which
sely accusing Plat fault provide Lieutenant
the October'19, 2005 shooting incident, and claiming this

 

 

   

cauised a delay in notifying the appropriate units and a delayed response to the scene, 2s
reflected on page 1 1 of hier post heacing bri ef

350, Attorney Taub!s'statements about the location are directly refuted by the BD's own
documentation including a report prepared by Sergeant Detective Michael Talbot
entitled "Investigation of Firearm Discharged by Boston Police Officer Frank Lee."

351. Attorney Taub's testimony on this point ig also refuted by the reports of Sergeant
Colon, Sergeant Cunniffe and Lieutenant Cullity which show that Plaintiff relayed _
information about the location of the shooting incident to Lieutenant Cullity during the
jnitial phone call, enabling units to.respond right away. :

  

352, Attorney: Taub also inisrépresented evidence by telling the arbitrator that the source of
the information about the incident ldcation was Sergeant Colon and not Plaintiff, which
was directly refuted bythe department's own evidence. showing it was Plaintiff who
provided that information to Lieutenant Cullity in the initial call.

353, ‘These facts show Attomey Taub committed fraud on the arbitrator whien stating that
Piaintiff lied to the IAD about telling Lieutenant Cullity the incident location.

354, Attomey Taub. also.cominitied fraud'on Plaintiff and on the-arbitrator by withholding
critical audio tapes that would have established Plaintiff's truthfulness.

355, Defendant BPD has required procedures that must be followed with respect to

prodiicing audio tapes related to the reporting of a shooting incident.

356, Attorney Taub failed to follow said procédures and didnot produce these items that:
would have shown Plaintiff was truthful in his-rendition-of the event since they

revealed information about the timing of reporting of the incident and time of dispatch.

357. The only audiorecording made available by Attomey Taub in connection: with the
arbitration was the audio recording of the conversation between Lieutenant Cullity and
Sergeant Fish; all: other audio tapes: were withheld from evidence including any audio
‘tape of the’conversation between Plaintiff and Lieutenant Cu y which would have
supported Plaintiff's testimony that he advised Lieutenant Cullity of the incident

location.

  

    

 

 

358. Attorney Taub also committed fraud on Plaintiff and o the arbitrator when she
intentionally withheld CAD sheets that would have further supported Plaintiffs.

truthfulness,
359. The CAD sheets‘would have: established that two police units were. already responding
a4

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 42 of 64

360.
361.

364,

365.

366.

367,

368. |
369:

370.

As:described herein, the actions
of Boston served to faci itate, ©
‘Taub, and led to délay in

to the inci ident: scene before Ser eant Colon told Lieutenant ‘Cullity the location, and
that Plaintiff was- in fact reported the location of thé. incident to
Lieutenant. Cullity enabling ut uni sto respond promptly.

Attorney Taub purposely ‘withheld this evidence because she knew it would:éstablish
Plaintiff's truthfulness.

The BPD’s Public. Integrity Policy prohibits BPD personnel including Attomey “Taub.
from: withholding said exculpatory evidence,

 
 
  

y's: misrepresentations. of fact.and intention: withholding. of key
4 Plaintiff would not

evidence, oa yan would have culed in Plaintiff's favor

  

 

be suffering with a baseless untruthfulness determination in his record.

‘Had Attomey Taub disclosed the. evidence as'she was. required to:do, Plaintiff-would

     
  
   

of Defendants BPD, Commissioner Gross, and the: City
ble; and coverup:the’ fraudulent actions of Attorney
sovery of these actions by. Plaintiff.

 

 

To date; Defendants have. continued to engage in fraudulent acts, as. deséribed herein,
by covering up and refusing to investigate. Attorney Taub’s: fraudulent conduct.

  
  
 

Plaintiff fas suffered and is continuing to suffer economic and. non-econoiiic injury as
a.direét, proximate: and foresee result.of Defendants’ fraudulent conduct and is
entitled io.recover damages from Defendants.

 

    

  

Plaintiff is. entitled to. recover his attorneys: fees from Defendants.for having, to.g0

-the-arbitratior , $e rection of the:impropef t and proceed
with this lawsuit, as at yroximate result of Attomey Taub's fraudulent actions
and the BPD’s failure to rectify ne hatin: she hascaused.

   

 

flies set ny herein,

  
 
    
    

Under G-L..c. 150€, ae ay)
award Was procured by'¢

‘Under Massach se tts | w, presentin ae testimony t to.an rbitrator and

one’s favor: constitutes:

 

fraud under G:Lc. 1506, §
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 43 of 64

 

371, Ag described herein, the Arbitratio Decision and Award: dated May'24, 2013, upon
which Plaintiff's untruthfulness determination is based, resulted from perjured |

‘testimony and improper withholding of exculpatory evidence by Defendant Taub.

372. Taub intentionally misrepresented Spt: Chinetti’s findings from the LAD interview and

 

see that it'refuted the Defendants’ accusations against Plaintiff:

373. Therefore the Arbitration Decision ‘and Award resulted from corrupt and fraudulent acts

‘and.use of undue means by Taub'as an agent of Defendants BPD and the City of

374. As described herein, Defendants BPD and City of the Boston have‘failed totake
cortective action with regard to Taub’s conduct and are continuing to engage in:
fraudulent and corrupt conduct

 

375. Plaintiff has submitied multiple notifications to. Defendants BPD and the City of
Boston; regarding the dishonest conduct and the incorrect information upon which the
arbitration award is based in an effort to'have his fite corrected.

 

376; ‘The response of Defendants and unwillingness to investigate thé:situation supports the —
conclusion that the-arbitratio ‘award was procured by corruption, fraud.and other undue
ameans. .

477. As described herein, Plaintiff submitted a publicrecord request and a personnel file
request seeking an unredacted copy. of the: AD investigation report thatis directly
relevant to the untruthfulness aécusation and arbitration award, but this document sti}
‘being withheld by the Defendants, despite an Order to produce it from the Supervisor of
‘Records for the Commionwealth of Massachusetts:

 

 

  

 

378. The unwillingness to corréct Plaintiff's record and refusal to provide relevant.
information:and documents indicates a lack of transparency and a policy: and practice of
dishonestly throughout the department, and thus the Court should vacate the
Arbitratot’s May 24, 2 jon and Award, pursuant t0-G.L. ¢.150C, § 11(a)I.

 
      

979. Sinée the arbitration award in, this case’is based on false testimony from Attorney Taub,
results from the unlawful retaliatory p gainst Plaintiff,

    

 

s y pursuit of a meritless complaint agains
and involves punishing an employee for exercising his legally’protected rights _
inchiding, his constitutional rights and rights as a union member, it offends public
policy and must be vacated under G-L..c.. 150G,.§ 1. |

   

380: Additionally, the'court should vacate the atbitrator’s award on grounds'thathe
exceeded his authority. He cked atithority:to decide the issue of Plaintiff's alleged.

untruthfulness during the IAD interview, as that was not the accusation in the

 

 

 

26
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 44 of 64

381.

382.

383.

385.

‘386.

387.

388.

389.

390:. Def “fed W ee
with BPD. through various unlawful and unethical acts including fraud

wmiisrepresentations, defamation, violations of the Department's pul

Complaint Control Form 1920,-Complaint #5953, and it was only constructed after
exculpatory evidence surfaced showing the original accusation was meritless.

Wheré'the BPD lacks evidence to support:an original yntruthifulness accusation, itmay

not construct a new accusation, claiming Plaintiff was untruthful when interviewed
ai accusation, ”

 

did not receive notice of the accusation and Defendants unlawfully
thhield the LAD report upon which the accusation is based, the issue of untruthfulness
was not properly before:the arbitrator.

  

Defendants were required to provide the LAD report to Plaintiff in 2008 when Fong first

made the accusation as per the Persontiel Record Law but failed to dogo, and now: have
failed to provide it when ordered by the Massachusetts Supervisor of Records.

agreement between the BPD and Plaintiff’s union confers
cide disputes but here he Jacked ‘authority: toissue a
binding decision because the BPD violated the agreement through its dishonest,
fraudulent and/or otherwise unlawful actions described herein.

    
 

 

 

‘This Court-has authority to vacate the arbitrator’s ruling: because the arbitrator exceeded
his authority, |

Plaintiff is entitled to.recover bis attomeys fees from Defendants:in seeking to have the
arbitrator's award vacated.

  
     

‘AND ADVANTAGEOt

(As to Taub

Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
fully set forth herein. :

As mote fully described above, Plaintiff has had-an advantageous employment

relationship with Defendant BPD, resulting in economic benefit to Plaintiff and other
benefits. |

Défendants Taub and Forig have known of this relationship’at-all times relevant hereto.

Defendants Taub and Fong interfered with and caused harm to Plaintiff's relationship
intentional

t ntegrity policy,.
withholding of exculpatory. evidence, withholding of a personnel
ntif ri aright to due-process, and other actions

 

 

    

37

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 45 of 64

39h.

392.

393.

394.

3958,

396.

397.

398.
399,
400.

Defendants Taib and Fong acted with improper motives and used improper means to
carry out their actions.as described herein.

Plaintiff has suffered and is continuing to suffer economic and noneconomic losses as &
result of the actions of Defendants Taub and Fong including but not limited tolost
wages, the expense of attorneys fees, emotional distress, lost opportunities for career
advancement, aid harm to his reputation. Plaintiff has suffered harm to his ability to
perform. his job functions and. rma’to his credibility:as a government witness, as

Defendants have caused him to bea "Giglio-impaired” witness.

Plaintiff is entitled to recover damages from Defendants Taub.and Fong individually as
a-resultof their above-described unlawful conduct.

 
 

(Aste Taub and Fong individually)

Plaintiff incorporates by reference the preceding paragraplis of his Complaint as though
fally set forth herein. — | |

 
 

cribed herein, Defendants Taub aiid Fong published false statements of fact |

niiff to one or more third parties, in which they accused Plaintiff of acts of
fishonesty, including but not limited to'the act of lying to.an TAD investigator during:
the January 18, 2006 interview:

 

 

   
 

 

prosecutors, and other third parties, including but not limited to the Boston Herald

newspaper who published the statements to the general public in its newspaper and
online, on. or about July 10, 2009.

The statements were published by Taub and Fong to an arbitrator, one or more federal

‘The aforementioned statements by Taub and Fong cast Plaintiff ina negative light *S
they call into question his moral character, truthfulness and credibility, traits that are
essential to the performance of his job with.the BPD.

   

Defendants’ aforementioned statements have caused Plaintiff to be permanently labeled
as someone who cannot be trusted to tell the truth, in.a legal proceeding or otherwise.

At the time the statements were aiade, Defendants. Taub and Fong held influential

positions with Defendant BPD.

‘Defendants Taub ind Fong made the aforementioned statements knowing they were

false-or with reckless disregard of their truth or falsity.

Plaintiff has suffered and will continue to suffer economic and noneconomic damagh

‘as.a result of Defendants’ statements, including, emotional distress that is impacting his
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 46 of 64

402.

403.

404.

405.

406:

07.

“408.

409.

410.

record labeling hitn'as untruthful and negatively impacting his opportunities with
regard to promotions within the BPD in the past and for the remainder.of his career in
law enforcement. — ~

 

 

Accordingly, Plaintiff is entitled to recover damages from Defendants Taub and Fong
as‘a result of their above-described unlawful conduct.

Plaintiff learned of the defamatory nature of Defendants’ statements upon receiving a

redacied copy of Sergeant Chinetti's February 6, 2006 IAD investigation report in late
2017, | "

Plaintiff learned that the BPD was ignoring the report and condoning the defamatory

statements in 2019 when he leamed that the BPD would not remove the untruthfulness

determination from his file,

The defamatoy statements by Defendants Taub and Fong were made as an unlawful

retaliatory measure in response to Plaintiff exercising his legal rights and challenging
the BPD's actions, as described herein.

Deféendarit BPD has failed to remove the untruthfulness. determination from Plaintiff's

record.that was caused by the defamatory statements, despite receiving information

showing the statements are false:

Defendant BPD is liable to Plaintiff'for the economic and non-economic damages he
has suffered, based on the actions of its agents and representatives including

Defendant Taub and Defendant Fong,-and the BPDis directly liable for its failure to
take corrective action.

 

 

The harm Plaintiff has suffered as a'result of Defendants‘ unlawful conduct is
irreparable, especially given that the law.enforeement community in Boston is.a small

one where individuals know oné-another and Plaintiff's value to ihe Department as a
detective and.as a government witness in court proceedings has been greatly
diminished. | : °

Baséd on the content of Defendants’ statements (i:€: accusations of dishonesty), and the
fact that they were made by representatives of Plaintiff's employer, the statements are
automatically presumed to damage Plaintiff's reputation and opportunities for future

advancement in law enforcem at,.asa mattér.of law:

 

 
  

 

 

Defendants’ conduct constituies defamation per se as amatter of law, and Plaintiff is
entitied to recovery without proof that he suffen ed economic damages, as the con
arid source of Defendants’ statements create an automatic inference that

sustained such damage, and Plaintiff is entitled to special dame
damages. |

 

     
  

 

\ ao
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 47 of 64

ALT, Plaintiff's entitled to recover damages from the BPD and from Defendaiits Taub and

Fong individually as.a result of the above-described unlawful conduct.

WHEREFORE, Plaintiff respectfully requesis that this Court etiter judgment in Plaintiff’ s
favor aiid-against Deféndaits on-each.and. every count of the Verified Complaint, including:

 
 

(1) Ordeting Defendants to immediately and permanently remove the untruthfulness
* determination from Plaintiff's record, a
(2) Ordéring Defendants to circulate a notice throughout the BPD stating thatthe previous _

untruthfulness determination against Plaintiff was erroneous and lie has been'cleared with
fespect to same, | a

(3) Declaring the February 6, 2006 TAD investigation report to be a public record and/or a

__ personnel: record and-ordering endants to provide Plaintiff with.an unredacted copy,

(4) Vacating Arbitrator Ryan’s May 24,2013 Arbitration Decision-and Award,

(3) Ordering Defendants to pay. monetary damages to Plain luding but not limited to
lost. earnings to date and reasonably anticipated future lost earnings, damages for _
emotional distre: harm to-psychological and physical health, dattages for hari to
réputation; lost educational opportunities, and lost opportunities for promotion-and career
advancement, attomeys'fees, costs, interest, and special damages including punitive

damages and multiple damages; oe |

(6) Ordering Defendants to remove their order barring Plaintiff from contacting the BPD.

” ‘Internal Affairs: Division; and. ,

   

 
  
  
   
  

 

 

 

(7) Ordering such other legal, equitable and declaratory relief to Plaintiff as the Court deems.
just'and proper. :

 

, BY JURY ON ALL ISSUES TRIABLE:

 

PLAINTIFF DEMANDS.A TRIAI
Plaintiff, Alvin Holder,
By His Attomeys, yp

   

 

 

 

 
Case 1:20-cv- 10656- RCS | Document 1- 1 Filed 04/02/20. . Page 48 OF 64 ee

Jee Seth ee meer te

“y

 

ae

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:20-cv-10656-R

 

e “supplied t© se
‘ scone:of

 
Case 1:20-cv-10656-Rt

 

 
Case 1:20-cv-10656-RGS Document 1

 
Case 1:20-cv-10656-RGS Documen

vated from: when

shoulder,
jolder took

 

 

 
Case 1:20-cv-10656-RGS .

 

 
Case 1:20-cv-10656-RGS Document 1-1. Filed 04/02/2

 

 
__ Case 1:20-cv-10656-RGS Document1-1 Filed 04/02/20...Page.56 0f 64 2 on.

     

William Chin

Ly mg fhe &

yer

_ Béputy Superintendent M !

Assist ief, Bureau of
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10636:

CV.

 

 

 

 

 

20-

 

Case 1

 

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 58 of 64

 

 

¥ ie Commonwealth of Massachusetts.
‘William Francis Galvin, ecretary of the’ Commonwealth
Publio- Records Division.

-Rebecoa 3; Muay
Superviser af Records
January'9; 2019

SPR18/2094

Shawn A. Williams, Esq.
Director of Public Records
City of Boston

| City Hall: Plaza, Rion 615
Boston, MA. 02201

Dear Attomey Williams:

 

d have received the petition of of. Julie: Halaby, Esq, 0 of, Halaby. Law G OUD; P.G.-on behalf of
n onse of the lice De en (Department) 0.
2.08(1). Specific
jhe complete | ‘nternal s Division’ GAD)
0.48 comple and unredacted copy of the:
> De pt. Marie Do sahue in that case
‘ovided.a Yesponse on: September 27, 2018, .which:
: in- redacted: form. The. Department deniéd access to
mic oftaccess to the records. and

     
      
  
   
      

purstant to ae remene 10:
Department’ '§ respot sé, ‘Atiomey 4 vi pe AMIS ap
opened. as aresult, This appeal pertains to the Tavestigative report ronly.

 
 

Purpose of request ‘identity af requestor

Please: note: that the:reason for which a requestor: geeks accesst0.or'a copy éfa: public
record does not aff | any greater: right of access to the requested information. than other persons
‘in the general public. The Public Records. ‘Law doesnot: ‘distinguish: between requestors. Access

{6 arecord pursuant't ‘the Public Records. Law fests.on the content: of the record ‘and not the
circumstances of the're questor. See Bou & ief ¢ of. Police. of Lexington, 371 Mass..59, 64
(1976 ). According " aki ng | the ‘request ! ‘has‘no: ‘bearing on the

public status of any existing responsive records.

 
 
    

it should’ be noted that the discovery process and the Public Records.Law are.two distinct
and independent. avenues for gaining access io records, The’ Massachusetts Supreme; Fidicial
Court has held that while; a party’s: access to records.may be. limited by the Public. Records Law,

One. Ashbutton Place, Room 1719, Boston, Massachusetts:02108 '° 617) 927 -2832¢ Fax: (6177 927-5914
sec.state.ma.us/pre * pre@sec. state.ma.us.
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 59 of 64.

Shawn A. Williams, Esq. SPR18/2094:
Page 2.
January 9. 204 9

 
   

appl oO records i in: which Tes vi :
of access to the record: ‘through: statutory, regulatory, judicial ¢ or other. applicable oo AS”
stich, Attorney Halaby may wish 10 consider another means of seeking to obtainany existing
responsive 3 records,

   
    
 
 
  
 

 

The Pubiie Records Law
The Public: Records Law strongly favors disclosure by-cieating-@ presumption that all
governmental records are Bublle records ‘ c. 66, § One 9: 0 C.MLR..3203(4 Public.
records” i is broadly-defined to include all documentary materials ata, be oie f physical

Commonwealth unless falling ‘waithin: a statutory exemption: GL.

2,06(3); s¢e also.
jar has the burden of
si mothe a custodian

If-there are any 2 esas i atesponse a written, 'g od. faith estiniate must be
provided, G.L. ¢. ¢ b) (viii); see.als0:950 C.MLR.. 32:07(2). Once ‘fees are paid,a records
custodian. inust provide the. responsi yerecords.

| The Department's September 27" response

 
  
  
 
  
   

   

 

 

 

In ite September 27, 2018 -resporise; the Department, referencing a Public:Records
Regulation, M “fa]s counsel for Detective Holder, you have a
‘unique tight. of access’ to th the Public Rec aw: Accordingly, the.

Depariment will not: consi rt tf iorecord: request but will. pro de.the records

[Attorney Halaby is] information ‘equest.” The Departinent; however,

encloses a copy of the TAD: gine file.

ald Attomey Halaby’s request be: treatéd:as a public.
sseports from. disclosure under Exemption ()
‘he. “fijhe'exemption _
ve efforts if

 
Case 1:20-cv-10656-RGS Document1-1 Filed 04/02/20 Page 60 of 64

Shawn A. Williams, Esq, | SPRIB/2094
Page 3 a
January 9, 2019
would expose the techniques used in fiteanth investigations sind Internal Affairs Investigations.”
Exemption ()
Brampton persia the withholding of:

   

discioaute. would a bein th pul fic intes est
G.1.0.4,8 7200:
: A custodian. oft reco: rds general yf: ‘inust: demonstrate a prejudice to investigative efforts:i in

ongoing vestigation may ‘be.
ive:o cials Confidential

 
  
   

 

      
  
       
  

900 79) ¢ ’ ‘statutory exemptions arenarrowly.: construcd:atid aren ure
expt, segregable, portion of a public record is subject to mandatory disclosure: G. L. By +, 66,

 
   
  

   

has a unique ght of access, }
iinclear how Attomey Halaby has a unique tight of access: thes y barting :

Law. ‘Howeve 3

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 61 of 64

Shawn A. Williams, Esq. —« SBR18/2094
Page 4 .
January: 9, 2019

the i application of of the se appeal process.as required under. the
mn for si Attomey Halaby explains that “ [tb Di

 
      
    

Public Recorts Law. In.

 
  

 

 

ae where aecusations were fade against fim, The. Déepartivent hes denied mie access.to
the report as: his. current attorney. It has. failed to produce it to me in response iormy multiple.
requests including: ra quest for his personnel file, which violates the Personnel Record Law,,

 

    
 
 
    
   

ion provided by Attorney Halaby i in-her:petition, it is
o the requested records, Th Department: must

Records Division staff
you prior to-the issuance of this decision.

Conclusion

  
    
  
 
 

Given that the: Department did fot meet its burden: to explain, ‘how: anexemption. applies
-to the records, the requested thhelc din: the De partinent is is
ordered td-review the Investi
with responsive: “records; provided :
Law, aud its. Regulations within ten busines .. A Copy: y Sui
provided to this-office, : 1 an electronic sopy 9 s:
sec.statexmacus, The Department may- st, reconsideration of this determination
within ten business: days of the date’ of this determination letter.

 
   
 
 

 

Sincerely,

   

Rebecta S$. Murray
‘Supervisor ¢ of Records

ce: julie Halaby, Esq.

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 62 of 64

 

 

 

 

CIVIL TRACKING ORDER DOCKET NUMBER Trial Court of Massachusetts
(STANDING ORDER 1-88) 2084CV00380 The Superior Court
CASE NAME: , . Michael Joseph Donovan, Clerk of Court

‘Holder, Alvin vs. Boston Police Department, City of Boston et al

 

COURT NAME & ADDRESS

TO: Julie Anne Halaby, Esq.
Halaby Law Group P C Suffolk County Superior Court - Civil
44 Main St ~ Suffolk County Courthouse, 12th Floor
: "| Three Pemberton Square *

 

 

 

 

TRACKING ORDER - F - Fast Track

 

 

 

 

 

 

“=—=———-7ou are hereby notified that this case is on ihe hack féferenced above as per Superior Court Standing
Order 1-88. The order requires that the various stages of litigation described below must be completed not later
than the deadlines indicated.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STAGES OF LITIGATION 0 DEADLINE

| gerveney| Filepey | HEARD BY
Service of process made and retumn filed with the Court - 95/11/2020 |
Response ta the complaint filed (also see MRCP 42) ; a “p6/09/2020 *
All motions under MRGP 12, 19, and 20 / . 06/09/2020 07/09/2020 - 08/10/2020
All motions under MRCP 15 | . pe/o9/2020 | 07/09/2020 | 08/10/2020
jevosttons ¢ acted and depositions served and non-expert "42/07/2020
All motions under MRCP 56 . . 01/05/2021 " 09/04/2021
Final pre-trial canferenes h held ‘andlor nial date st ens | ~eeeaiaeat
Case shall be resolved and judgment shall issue by o2/09/2022

The final pre-trial deadline Is not the scheduled date of the conference. You will be notified cf that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned to

 

 

[BATE 1S8UED ASSISTANT CLERK PHONE
(617)788-8134

 

 

02/10/2026 Anh T Bungcayzo

 

 

 

 

 

 

 

 

DatafTime Printes: 02-10-2020 10:91:45 stvoan Gaines
   

 

Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/4 ge 63 of 64

ah:

= an o2/ ’ 3V
— oe hs

COMMONWEALTH OF MASSACHUSETTS :

SUFFOLK, BS - SUPERIOR COURT DEPARTMENT,

 

 

 

    

 

 

 

Ce np _CIVIL ACTION.NO 22f =O 3 BO. e
_ 7)
. ALVIN-HOLDER, = © eo
-. Plaintiff, oy
v. -
). te es
"| BOSTON POLICE DEPARTMENT, i a® BW os”
» CITY OF BOSTON, ... 0. ee rae SS ST
_. WILLIAM:GROSS, in his Official Capacity ye “ eo mee mee
as the COMMISSIONER OF THEBOSTON =) ss 35 2 ge
POLICE DEPARTMENT, (uw). Notice sent. Ba OD. BE.
WILLIAM EVANS and EDWARD DAVIS, y 2/18/2020" | an > oe
~ each in his Official Capacity as former. - pd Ae Heo | RE RS
COMMISSIONER OF THEBOSTON” i=): aw GPC. Fe P sso
POLICE DEPARTMENT, yo." ew
NICOLE TAUB, individually and in her )
_ Official Capacity as Former Senior Staff Attorney)
for the BOSTON POLICE DEPARTMENT, yoo.
KENNETH FONG, individually and ) (se). -
in his Official Capacity as i)
- BOSTON POLICE DEPARTMENT CAPTAIN; )
and SHAWN WILLIAMS, in his Official Capacity ).
as DIRECTOR OF PUBLIC RECORDS AND yp:
_ RECORDS ACCESS OFFICER for the‘ do
CITY OF BOSTON AND THE BOSTON * yO
POLICE DEPARTMENT, ! oy
oo : y oe
-—— ——-— Befendanis.—~ iy . a
“ 2)

 

E
°
Zz
pa
‘oo
B
ey
oS
'Z
=
me
is
re
6B
ig
#3
ce
iB
Ss
ae

  

.,. ., The Plaintiff hereby requests pursuant to Mass. R. Civ. Proc. 4 (c), that this Honorable
tw Court appoint as special process server South Coast Legal Services; Inc. d/b/a The Constable’s ©. :~
_ « Network,.by its Deputy Sheriffs, Constables, or Agents, who are qualified persons over the age
.. of 18, knowledgeable in the service of process, and who are disinterested parties in this action: = *
Specifically, the Plaintiff requests that the court authorize the special process servers to-serve’ -
' process issued by this Court in accordance v with M.G. L. c. 235.

 

 
Case 1:20-cv-10656-RGS Document 1-1 Filed 04/02/20 Page 64 of 64

   

 

 
  

ve “BRON No. 630124
fsq. BBO No:; 666003

Halaby Law Group; P.C..
14 Main Street
Hingham, MA 02043

 

Dated ___

 

 

 
